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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

KERRY DIMART ALLEN,                           §
             Petitioner,                      §
                                              §
v.                                            §      Civ. Action No. 4:11-mc-1676
                                              §                  ECF
RICK THALER,                                  §
Director,                                     §
Texas Department of Criminal Justice,         §
Institutional Division,                       §
                   Respondent.                §
                                              §

                        RESPONDENT THALER’S
                     ANSWER WITH BRIEF IN SUPPORT

       Petitioner Kerry Dimart Allen was properly convicted and sentenced to

death for the capital murder of Kienna Lashay Baker, a child under six years of

age. I CR1 2; II CR 563, 574-75, 585-86. Allen now challenges his conviction

and sentence in this Court pursuant to 28 U.S.C. § 2254. However, he has failed

to demonstrate that he is entitled to relief. The Director denies all allegations

of fact made by Allen except those supported by the record and those specifically

admitted herein.2


       1
            “CR” refers to the Clerk’s Record—the transcript of pleadings and
documents filed with the clerk during trial—followed by page number.
       2
            An electronic copy of Burton’s state court records was filed on May 17,
2012. See ECF No. 16 (“ECF” refers to the Southern District’s Official Court Electronic
Document Filing System, followed by a docket entry number).

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                        PETITIONER’S ALLEGATIONS

      In this federal habeas proceeding, Allen alleges five constitutional

violations:

      1.      The Texas death penalty scheme violates the Sixth, Eighth, and
              Fourteenth Constitutional Amendments by not requiring the State
              to prove aggravating factors relevant to the mitigation special issue
              beyond a reasonable doubt before the jury may sentence the
              defendant to death.

      2.      The State of Texas, by requiring individual counties to fund the
              prosecution of capital cases, injects arbitrariness into the selection
              of which cases will be tried as capital cases, in violation of the
              Eighth and Fourteenth Constitutional Amendments.

      3.      The Texas “12-10” Rule and the law prohibiting jurors from being
              informed that their individual vote that life is the proper sentence
              will lead to a life sentence, violates the Eighth and Fourteenth
              Amendment as construed by Mills v. Maryland, 486 U.S. 367 (1988),
              and McKoy v. North Carolina, 494 U.S. 433 (1990).

      4.      The state trial court violated Allen’s Sixth and Fourteenth
              Amendment rights to an impartial jury and due process by denying
              his challenge for cause against veniremember Berg.

      5.      Allen’s trial counsel were ineffective for failing to subpoena
              witnesses who were key to the mitigation special issue.


                          STATEMENT OF THE CASE

      Allen was convicted of capital murder in April 2001, and sentenced to

death in May 2001, for the capital murder of Kienna Lashay Baker, a child

under six years of age. II CR 563, 574-75, 585-86. The Texas Court of Criminal

Appeals (CCA) affirmed Allen’s conviction on direct appeal. Allen v. State, 108

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S.W.3d 281 (Tex. Crim. App. 2003), cert. denied, 540 U.S. 1185 (2004).

       Allen filed an application for postconviction writ of habeas corpus on

January 10, 2003. SHCR3 2-355. The trial court adopted the State’s proposed

findings of fact and conclusions of law and recommended denying relief. SHCR

894-929. The CCA adopted those findings and denied relief. Ex parte Allen,

WR-73,586-01, 2010 WL 1709947 (Tex. Crim. App. Apr. 28, 2010).

                             STATEMENT OF FACTS

I.     Facts of the Crime.

       Forty-year-old Allen met Kienna Baker’s mother, twenty-three-year-old

Kim Jones, at a bus stop during the fall of 1999. 22 RR 63-68, 71, 78-79. During

the course of a forty-minute conversation, Allen told Jones that he was an

evangelist preacher. 22 RR 69-71. Allen asked Jones if she had any children;

Jones told him about her four children. 22 RR 64, 68-69. The two exchanged

telephone numbers; Allen called Jones that night and she agreed to go on a date

with him. 22 RR 69-72. After dating a short period of time, Allen and Jones

moved in together. 22 RR 72-74, 77-79. Allen had only seen Jones’s children on

one occasion, but he wanted them to live with them in the apartment. 22 RR 74-

75. The six of them moved into a two-bedroom apartment in November 1999.



       3
             “SHCR” refers to the Clerk’s Record from the state habeas proceedings.


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22 RR 78-79, 90.

      Over the next six months, Jones worked while Allen watched the children.

22 RR 83-87; 23 RR 81-82. Typically Allen was left alone with the children from

8:00 a.m. until 4:30 p.m., while Jones was working. 23 RR 81-82, 87. Allen took

over as disciplinarian for the children after he and Jones moved in together. 23

RR 89. Allen devised rules for the children and would not allow them to play

outside; all four children were generally required to stay in the one bedroom the

children shared. 22 RR 81-82, 89-90. The children began losing weight because

Allen withheld food from them as a form of punishment. 22 RR 101-02. Jones

testified that Allen did not like two-year-old Kienna and that he mainly picked

on her for wetting herself. 22 RR 81-82, 94. When Kienna had an accident,

Allen whipped her with a belt, leaving marks and bruises; Jones testified that

Kienna was punished in this manner at least four or five times. 22 RR 95-96.

According to Jones, Allen had a specific belt that he used for whipping the

children; she asked Allen not to hit the children in this manner but he refused

to stop. 22 RR 96-97, 100. A few days before her death, Allen struck Kienna

because she had urinated on herself; he then forced her to sit on the toilet for one

to two hours until she urinated again. 22 RR 97-99. Jones explained that Allen

hit Kienna “real hard” with “anger on his face.” 22 RR 97. Jones was afraid of

Allen and believed he was capable of hurting her; she also believed Kienna was


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afraid of him. 22 RR 99-100.

        On May 10, 2000, Jones left for work at 8:30 a.m. 22 RR 107. The

children were still asleep in bed at this time, but Allen was awake. 22 RR 107-

08.    Some time around noon, Allen called Jones’s workplace and told her

supervisor that there was an emergency, and Jones needed to come home

because something was wrong with one of her children. 21 RR 64-66; 22 RR 109-

10. Jones left work around 12:35 p.m.; when she arrived home, Allen met her

in the parking lot and stated, “I didn’t do anything to her.” 21 RR 64-67; 22 RR

110, 113. Allen told Jones that he had spanked Kienna after she wet herself and

that he then placed her on the toilet but she fell off and hit her head. 22 RR 113.

Jones ran inside the apartment where she found Kienna lying in the children’s

bedroom wearing only a wet pair of boy’s underpants; Jones noted it was very

unusual for Kienna to wear boy’s underpants. 22 RR 114-16. Kienna did not

move or respond, foam was coming out of her mouth and nose, and Jones

detected no heartbeat. 22 RR 115. Jones noticed a jar of Vaseline near Kienna’s

motionless body, which led Jones to suspect Allen had molested Kienna. 22 RR

114-15; 23 RR 89-90. Jones asked Allen what he had done but he again denied

any wrongdoing. 22 RR 116. Jones removed the boy’s underpants from Kienna’s

body and replaced them with girl’s underpants. 22 RR 116-17.

        Despite her concern, Jones did not immediately call 911 out of fear—Allen


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repeatedly told her not to do so. 22 RR 118-20. Instead, Allen insisted they go

to a neighbor’s apartment to borrow a dollar for bus fare so that he could “get

away.” 22 RR 120-23. Neither told the neighbor that anything was wrong with

Kienna or attempted to call 911 from the neighbor’s house; Allen attempted to

call his father but could not reach him. 22 RR 122-24. They left the neighbor’s

house and went to a payphone were Jones did finally call 911, despite Allen’s

warnings not to. 22 RR 125-26. Allen continued to deny doing anything to

Kienna. 22 RR 126. They returned to the apartment where Allen instructed

Jones not to tell the police that he was in the apartment. 22 RR 127. Allen then

locked himself in the master bedroom with Jones’s other three children. 22 RR

127-30.

      Leonard Cherry of the Houston Fire Department arrived at the apartment

within three minutes of dispatch, around 1:15 p.m., and performed CPR on

Kienna. 21 RR 71-75, 81; 22 RR 130. Jones told the fireman that Allen was not

there. 22 RR 130-31. When asked about the locked door, Jones stated she did

not have a key to the room. 22 RR 132. Not until police officers arrived and

threatened to take Jones to jail did she admit that Allen was hiding in the room

and that her other children were in there too. 21 RR 84, 86-88, 91; 22 RR 132-

33. The police eventually kicked the door down to find that Allen had fled

through a window; the remaining children were found hiding in the closet. 21


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RR 91-94; 22 RR 133-34.

      A police officer processing the crime scene found an open jar of petroleum

jelly near Kienna’s body in the children’s bedroom, while the jar’s lid was found

in the master bedroom. 23 RR 150, 154, 161-62; 24 RR 137. In the children’s

bedroom, police officers also recovered a bottle of hand lotion, a pink child’s

outfit, two pairs of panties, a towel, and a piece of carpet and padding. 23 RR

154. Another pair of child’s underwear was found in the bathroom where they

had been washed. 24 RR 136-37. Two Bibles were found lying on the couch;

both were opened to a passage about a miracle in which Jesus brought a dead

girl back to life by placing his hand on her. 24 RR 136-38.

      At the scene, Sergeant James Binford of the Houston Police Department

(HPD) spoke with Jones, whom he considered to be of below average intelligence.

24 RR 131-33. After Binford took Jones to the hospital to see her daughter, he

took her to the HPD Homicide Office where Jones gave a lengthy statement. 24

RR 138-42. According to Jones, Allen told her that he spanked Kienna and

seated her on the toilet after she urinated on herself. 24 RR 144-46. Allen left

the room, then heard Kienna fall from the toilet and hit her head. 24 RR 144-46.

Jones told Binford that Allen maintained that the death was an accident. 24 RR

144-45. After taking her statement, Sgt. Binford drove Jones home where she

showed him a black belt. 24 RR 135-36, 147-48.


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      Paramedics transported Kienna’s lifeless body to the hospital where she

was pronounced dead at 2:08 p.m. 21 RR 99, 106, 120. Registered nurse,

Kimberly McCreary, attended to Kienna’s body when she arrived at the

emergency room; McCreary noted that her body was covered with scratches and

bruises. 21 RR 111-16. The injuries appeared to be both old and new. 21 RR

115-17. McCreary also noticed that Kienna was suffering from a prolapsed

bowel—her anal opening was gaping and her bowel was visible. 21 RR 121-124.

McCreary stated that she had only seen this condition in victims of sexual

assault and had never seen it in a pediatric patient. 21 RR 121-22. McCreary

also noticed a “clear pink-tintish fluid around the anal area.” 21 RR 125.

Considering these circumstances, a doctor collected a swab specimen from

Kienna’s anus and vagina. 21 RR 125, 131-32.

      Christi Kim of HPD Crime Lab testified that semen was indicated on the

two anal swabs collected during the examination, from the blue pad used to wrap

Kienna’s body after she was declared dead, and from two pairs of children’s

underwear. 24 RR 86-93, 116-17. However, the lab was unable to identify the

donor of the semen. 24 RR 108-12, 113-15. No semen was found on the vaginal

swab. 24 RR 92.

      Dr. Lee Ann Krishnan, an assistant medical examiner, performed an

autopsy on Kienna’s body. 21 RR 141, 144. Dr. Krishnan described Kienna’s


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body as bearing an unusually large number of scars, which constituted evidence

of old injuries. 21 RR 152-84. The doctor opined that, while some of these scars

could be consistent with normal childhood injury, this was “an exorbitant

number of scars, especially for a child so young.” 21 RR 183. Dr. Krishnan also

said the body bore a number of healing wounds, which were inflicted within days

of Kienna’s death. 21 RR 191-202. Dr. Krishnan also determined that Kienna

was malnourished. 21 RR 204.

      Dr. Krishnan concluded that the cause of Kienna’s death was blunt force

injuries to her chest and abdomen. 22 RR 41. Specifically, Kienna’s lungs were

bruised, and the soft tissue between her chest plate and heart had hemorrhaged,

the result of a strong impact to the front of the chest. 21 RR 212-18. Dr.

Krishnan also observed that Kienna’s liver was fractured almost in half. 22 RR

20-23. This injury was likely caused by multiple blows, delivered with a great

amount of force, to Kienna’s abdomen. 22 RR 22-24. According to Dr. Krishnan,

this type of liver injury is consistent with the sort of fatal injuries sustained in

car accidents. 22 RR 22-23. The doctor opined that, given the small amount of

blood in her abdominal cavity, Kienna likely did not live very long after her liver

was fractured. 22 RR 24-25. Kienna’s kidney was also lacerated as a result of

blunt force trauma to her abdomen. 22 RR 25-27. Additionally, the evidence

indicated that Kienna had been struck multiple times in the head. 21 RR 211.


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The lung and liver injuries were both independently sufficient to cause Kienna’s

death. 22 RR 28-29. Kienna likely died within one hour of the infliction of these

injuries.   22 RR 29.   Dr. Krishnan concluded that Kienna’s injuries were

consistent with someone hitting her repeatedly on her chest and abdomen with

his hand.    22 RR 32-33.    Dr. Krishnan testified that these injuries were

consistent with having been inflicted by an adult and were not consistent with

Kienna falling off the toilet, hitting head, and losing consciousness. 22 RR 31.

      Dr. Krishnan detected evidence of sexual abuse: She found petechial

hemorrhages around Kienna’s vagina, indicating trauma to that area. 21 RR

186. The trauma was consistent with an attempted penetration of Kienna’s

vagina. 21 RR 189. Dr. Krishnan opined that this trauma occurred on the day

of Kienna’s death. 21 RR 186-87. Dr. Krishnan noted that Kienna’s hymenal

ring was open, meaning she was either born with this condition or something

had penetrated her hymenal ring. 21 RR 187-88. Dr. Krishnan also noted

evidence of anal penetration. Dr. Krishnan observed a “skin tag” near Kienna’s

anus indicating past penetrating trauma to Kienna’s anus. 21 RR 189-90. She

found hemorrhages in Kienna’s anus. 22 RR 35-36. The anal injury was

consistent with an adult penis penetrating deep into her rectum and causing

severe injuries. 22 RR 38, 44-45. Dr. Krishnan opined that the rectal injury

occurred “[a]nywhere from 48 hours close to the time of death.” 22 RR 43. She


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also testified that the blood loss associated with Kienna’s anal injury may have

contributed to her death. 25 RR 47.

      Dr. Joan Shook, the director of the Texas Children’s Hospital’s Emergency

Department, reviewed Kienna’s records and concluded that Kienna was beaten

death. 24 RR 4, 7, 9. Dr. Shook’s findings were consistent with and closely

mirrored Dr. Krishnan’s: Dr. Shook determined Kienna’s liver was separated,

her kidney was lacerated, and her lungs were bruised, 24 RR 16-17, 22, 27; these

injuries were caused by repeated blows to Kienna’s chest and abdomen, 24 RR

18, 20, 26-27, 31; Kienna was beaten for more than an hour and ultimately

beaten to death, 24 RR 43; and, during the beating, Kienna was anally raped

which contributed to her death, 24 RR 43. Regarding the sexual assault, Dr.

Shook testified that Kienna suffered significant rectal injuries—her rectal tissue

was protruding from her anus, a condition that was “extraordinarily unusual.”

24 RR 33, 35. This condition was consistent with anal penetration by a penis

“with considerable force.” 24 RR 36-40. Dr. Shook determined that the anal

injuries occurred within hours of Kienna’s death. 24 RR 36-37. Dr. Shook also

detected injury to Kienna’s vagina which, in her opinion, indicated that she had

been chronically sexually abused. 24 RR 41-42. Further, Dr. Shook noted

petechial hemorrhaging indicating a recent injury to Kienna’s vagina occurring

“within a short period of time before her death.” 24 RR 41-42. According to Dr.


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Shook, Kienna’s injuries were inconsistent with her falling off a toilet and

striking a bathtub. 24 RR 13-14, 24. Rather, the injuries to Kienna’s liver,

kidneys, and lungs would be consistent with the kind of injuries sustained in a

car crash, falling from a second- or third-story window, or from being kicked by

a horse. 24 RR 31-32. Dr. Shook testified that injuries to Kienna’s head and

face were likely caused by someone pulling Kienna’s head up by her hair and

slamming her face down more than once. 24 RR 13. Bruising along her side was

likely caused by someone striking or holding Kienna down while rectally

penetrating her. 24 RR 20-22. The lacerations to Kienna’s liver were consistent

with an adult kicking the child with as much force as possible. 24 RR 29.

      Two days after Kienna’s death, Allen attempted to turn himself in to the

Harris County Jail; a crying Allen told a sheriff’s deputy that there had been an

accident and Kienna had been killed. 23 RR 178-80. The deputy called HPD

and spoke with Sgt. Binford who indicated that he wanted to speak with Allen.

23 RR 180-84. Sgt. Binford arrived at the jail fifteen minutes later and told

Allen that he was a suspect in Kienna’s death. 23 RR 188; 24 RR 165. Allen

hung his head and said, “I know.” 24 RR 165. Allen agreed to accompany Sgt.

Binford to the homicide office. 24 RR 165. As they approached Sgt. Binford’s

car, Allen stated, “I should have never done it. My temper gets control.” 24 RR

166. Once they arrived at the homicide office, Allen told Sgt. Binford that he had


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anger management problems and asked if the police department had classes for

this problem. 24 RR 173. Allen also said that he would have fled town but he

did not have any means by which to do so. 24 RR 172. Sgt. Binford testified that

Allen was the power in the relationship with Jones and was intelligent and

manipulative. 24 RR 173-75.

II.     Evidence Related to Punishment

        A.    State’s evidence

        At the punishment phase of trial, the State played for the jury Allen’s

videotaped interview conducted by Sgt. Binford. 27 RR 8; SX 224. Sgt. Binford

testified that, on the tape, Allen came across as a victim; however, Binford found

him to be a methodical and sharp thinker who functions in a “survival mode.”

27 RR 13.

        Officer Jose Torres from the HPD Juvenile Division testified that he

transported Jones’s remaining three children from the apartment complex to the

hospital. 26 RR 206-07. Officer Torres testified that the oldest child, Denzel,

appeared skinny and listless. 26 RR 209. Both boys, Denzel and Tristen, had

visible bruising and scars. 26 RR 209, 215-20. Torres took them to Texas

Children’s Hospital and stayed with them while they were treated by doctors.

26 RR 210. Denzel never spoke to Officer Torres and never made a sound while

his blood was drawn. 26 RR 213, 220. Denzel had to be admitted to the hospital.


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26 RR 220. He was four-years old and weighed just twenty-six pounds. 26 RR

225. Three year-old Champagne Jones did not have any visible injuries and her

overall physical condition was good compared to the other children, but she was

hungry. 26 RR 213. Tristen, the youngest child, had bruises on his bottom and

thigh areas and appeared malnourished and dehydrated. 26 RR 215.

      The State presented evidence of Allen’s criminal record. On October 22,

1986, Allen pled guilty to two counts of felony sexual assault, committed in

Harris County, Texas, and was placed on deferred adjudication probation. 26

RR 4. The indictment in this matter alleged Allen penetrated the anus of

Keenan and Kevin Clay, on or about January 2, 1986. SX 171. Allen violated

the terms of his probation by failing to report for four months in 1988, by failing

to participate in a sex offender program, and by failing to pay supervisory fees

and fines. 26 RR 10. In May 1989, Allen was adjudicated and sentenced to two

years’ imprisonment for this offense. 26 RR 59-60; SX 174. Allen received credit

for time spent in the county jail awaiting parole revocation proceedings from

March until May, and was released on mandatory supervision on or about

September 17, 1989. 26 RR 61-62. However, within three months of his release

Allen violated the terms of his parole by failing to report for parole and by failing

to report a change of residence. 26 RR 63, 65-66. On December 11, 1989, a pre-

revocation warrant was issued but was not executed until September 29, 1998,


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by the Acadia Parish Sheriff’s Office in Louisiana. 26 RR 63. Allen was not

supposed to leave Harris County, Texas, and should not have been in Louisiana,

and was thus considered a parole absconder during those nine years. 26 RR 64-

65. In January 1999, Allen’s parole was revoked. 26 RR 63, 66. In March 1999,

the parole board denied Allen parole and voted that he serve his sentence in its

entirety. 26 RR 67. In July 1999, Allen was again released on mandatory

supervision, but was required to register as a sex offender. 26 RR 67-71. Allen

was discharged of his parole obligation on March 15, 2000—approximately two

months prior to the murder of Kienna. 26 RR 68. Records indicate that one of

the conditions of his mandatory supervision required that he stay away from

children, and being around children under the age of five—i.e., living with

Jones’s children—would have been a violation that parole. 26 RR 70-71.

      HPD Police Officer Dalia Hester testified that she knew Allen from her

duties with the HPD Sex Offender Registration Program—Allen was one of the

registered sex offenders assigned to her. 26 RR 72-74. According to Officer

Hester, sex offenders released from prison or jail must register within seven

days of release; Allen did not register for almost a month. 26 RR 74-75. As a

multiple offender, Allen was required to report to her office every ninety days,

and verify his address once a year, for the rest of his life. 26 RR 78-79. If he

moved, Allen was required to notify the program seven days before a move. 26


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RR 80. Allen never reported a change of address in connection with his move

into the apartment with Kimberly Jones and her children. 26 RR 89-91. Had

Officer Hester discovered he was living somewhere other than his registered

address, he would have been charged with a third degree felony, exposing him

to two to ten years in TDCJ and up to a ten-thousand dollar fine. 26 RR 91-93.

      The State also presented evidence that on May 11, 1990, Allen pled guilty

to misdemeanor assault in Harris County, Texas, for attacking his second wife,

Carla Jones (see below). He was sentenced to seventy-five days’ confinement in

the Harris County Jail. 26 RR 4-10; SX 176.

      Allen’s first wife, Sonji Allen, testified that she met Allen when she was

seventeen and he was twenty-three but her parents would not allow them to

date. 26 RR 115. The two dated secretly and married in August 1983, when she

turned eighteen. 26 RR 112-15. When they married, Allen falsely represented

that he was employed. 26 RR 116. However, Sonji soon learned that Allen did

not have a job, a car, or a home; they lived in a hotel and then with a friend of

Allen’s. 26 RR 116-17. Sonji got a job at a hospital and supported them during

their marriage. 26 RR 117-18. Their first child was born November 1, 1984. 26

RR 118. While the couple was living in St. Louis, Allen did not work for longer

than two weeks. 26 RR 117. In December 1984, Allen told Sonji he wanted to

move the family to Texas so he could look for work, but Sonji did not want to go;


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they argued about the move at which time Allen choked Sonji until she was

almost unconscious. 26 RR 119-21. Sonji eventually consented to move to

Houston where they lived first with a dentist and then with an elderly man. 26

RR 121-22. Sonji was pregnant with their second child when their son Devin

died of natural causes. 26 RR 122.

      On two separate occasions Allen and Sonji lived with Vanessa Griffin,

whom they met through church. 26 RR 132-36. Griffin allowed them to live

with her and her two sons off and on until Sonji moved back to St. Louis with her

family. 26 RR 132-36.4 Sonji testified that she and Allen used to babysit for

Vanessa’s children who, at first, appeared to like Allen. The children later

became withdrawn and avoided him when he was around. 26 RR 137-38. After

Sonji returned to St. Louis, she learned of the sexual assault allegations

regarding Allen and Griffin’s children. 26 RR 136. Sonji testified that she

remained married to Allen but never saw him again. 26 RR 138. Allen has not

met their daughter, who was born in October 1985, nor does he support the

child. 26 RR 124, 138. Sonji also testified that Allen has a twenty year-old son

by another woman in St. Louis, a son who also does not have a relationship with

his father. 26 RR 139-40. On cross-examination, Sonji testified that Allen told



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            These two children were the victims of the aggravated sexual assault to
which Allen pled guilty. See 26 RR 133-34; and 26 RR 4-10; SX 170-76.

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her an uncle had molested him when he was a child. 26 RR 150. Sonji also

recounted Allen’s several attempts at suicide, 26 RR 151-55, but testified on

redirect that she thought Allen did this to gain pity. 26 RR 163.

      Liza Turner testified that she first met Allen, sixteen years prior to the

trial, when she was eleven or twelve years old and he was a youth minister at

her church. 26 RR 168. Turner testified that she had a special relationship with

Allen—he would teach her songs and she was flattered by the attention. 26 RR

170. Turner’s parents would not allow them to meet anywhere away from the

church so they used to meet up in a secluded hallway of the church. 26 RR 170-

71. According to Turner, they talked and Allen used to hug her in that hallway.

26 RR 171. The hugging gradually turned more intimate—Allen began caressing

her and eventually kissed her. 26 RR 171-73. Allen told Turner that he wanted

to be with her and did not want to be with his wife, Sonji, anymore. 26 RR 173.

She and Allen would communicate with each other through letters they

exchanged at the church. 26 RR 174. In one letter, Allen told Turner he loved

her and talked about wanting to go away with her; Turner showed the letters to

her friend who then showed them to her mother, who in turn gave them to

Turner’s parents. 26 RR 175-81; SX 183-88. Allen was not allowed back in the

church after that, and Turner never saw him again. 26 RR 176.




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      Vanessa Griffin Henry testified that she is the mother of Allen’s sexual-

assault victims. 26 RR 185-86. Henry met Allen through church about fifteen

years prior; her children were four and eight at the time. 26 RR 186-870. Henry

testified that she let Allen and Sonji move in with them for almost a year after

the pastor told her they did not have a place to live. 26 RR 188-89. Allen did not

have a job during the time he lived with her. 26 RR 189, 191. At one point,

Henry left her boys in the care of Sonji and Allen, and, at first, Allen interacted

well with the boys. 26 RR 190- 91. After having a conversation with her pastor,

Henry approached her boys and asked them if anyone had ever touched them in

an inappropriate way; both boys indicated that Allen had touched them

inappropriately and had threatened them if they ever told anyone. 26 RR 192-

95. When Henry confronted Allen with the boys’ accusations, he told her he did

it because he was in love with her. 26 RR 197. Henry called the police, but

eventually agreed to probation for Allen so that her children would not have to

testify against him. 26 RR 195-96.

      The State called Carla Jones who testified that she met Allen when she

was twenty-three years old and they both lived in the same boarding house in

Houston. 26 RR 13-14. According to Carla, when they first met, Allen told her

he would protect her from the single men living in the boarding house and once

commented that he thought she was much younger than her true age. 26 RR 12,


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14-15. The two began dating a few months later and then moved into an

apartment together. 26 RR 15. Allen worked odd jobs, contributing to the phone

bill and groceries, while Jones worked for an attorney and paid the rent. 26 RR

16-17. The two got married in April 1990, after Carla found out she was

pregnant. 26 RR 17, 21. While they were together, Allen told Carla that he had

been incarcerated for assault, but never told her that the offense was for sexual

assault of children, that he had an open arrest for parole violations, that he was

required to attend sex offender classes, or that he was married to Sonji Allen,

despite the fact that Carla specifically asked if he was married. 26 RR 19-20.

      Once they were married, Allen wanted to take control of everything: When

Carla became pregnant, Allen tried to get her to stop working; Allen once forced

her to change clothing and wear his shirt to her office because he considered the

shirt she was wearing too provocative; on another occasion, he stopped the car

on the side of the highway and attempted to push her out of the car because they

disagreed over her prenatal care. 26 RR 17-18, 22-25. Allen was also jealous of

the attorney Carla worked for and did not like her working at the office alone

with him. 26 RR 18. Allen would get angry if she came home late and accused

her of having an affair with her boss. 26 RR 18.

      In May of 1990, while Carla was three months pregnant, she stayed late

visiting her mother; when she got home Allen accused her of being with her boss.


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26 RR 26. The two argued and Allen tried to physically force her to get re-

dressed in the clothing she had been wearing that day, and then began beating

her with a hanger on her behind and her legs. 26 RR 28-29. Carla said his

whole personality changed during this incident. 26 RR 30. Allen dragged her

out of the apartment kicking and screaming and tried to force her into the car,

but neighbors intervened. 26 RR 30-32. The police were called and Carla made

an official report, but Allen ran away before they arrived. 26 RR 32. Allen was

eventually caught and convicted of assault. 26 RR 33. Carla did not continue

to live with Allen after that, and lost the baby approximately three weeks after

the attack. 26 RR 33. During the attack, Carla feared that if she got into the car

with Allen, she would never return; Carla opined that he made her re-dress in

the clothing she had been wearing so that he could say she never made it home

that evening. 26 RR 53-54.

      Carla did not see Allen again until she contacted him in 1999 to obtain a

divorce; Allen did not tell her that he had been in jail, but told her that he had

been ordained as a bishop and that he was trying to turn his life around and look

for a job. 26 RR 33-40. Allen and Carla spent three days together, during which

time he told her he wanted to get back together, but Carla refused because Allen

ignored her six year old son from another relationship, refusing to look at or

speak to him. 26 RR 40-42. Allen became angry when she told him she still


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wanted a divorce, and he left. 26 RR 43-44. She did not see him again until she

saw this case on the news and contacted the police. 26 RR 44-45.

      B.    Defense’s evidence

      Clinical psychologist, Dr. Gilda Kessner, evaluated Allen to determine his

risk of committing future acts of violence. 27 RR 18-19. Dr. Kessner opined that

Allen would fall into a range of 2 to 7.3 percent probability of committing future

acts of violence constituting a threat. 27 RR 19, 52. Dr. Kessner stated that the

staff, security, and structure of prison modified Allen’s risk level. 27 RR 55.

      The defense called the pastor of Allen’s childhood church in St. Louis,

Missouri, James Jefferson, who has known Allen since he was seven or eight

years old. 27 RR 84-85. According to Jefferson, Allen was part of the church

youth group, was a likeable person, and never any trouble. 27 RR 86. Allen left

the church when he was about fifteen, but Jefferson would see him every few

years at gatherings, and Allen would stop by to say hello. 27 RR 87. Jefferson

testified that Allen exhibited slightly feminine mannerisms and seemed rather

timid and soft. 27 RR 88.

      Another childhood pastor, Freddie Thompson, testified that he met Allen

when he was fourteen years old, in a fellowship service for young people. 27 RR

98-99. Allen was active in the group and loved to speak to the group from the

Bible. 27 RR 98. When Allen was about thirty years old, he made a public


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confession in front of the entire church congregation that he was a homosexual.

27 RR 99-100, 108-10. Thompson tried to counsel him after the service because

the church considered homosexuality a sin. 27 RR 100-01. Thompson had not

seen Allen for nearly ten years at the time of trial. 27 RR 101. Thompson

testified that Allen’s criminal past did not correspond to the person he knew

from fellowship. 27 RR 102-03. Thompson saw Allen as a bright young man who

was very interested in a spiritual life. 27 RR 103.

      Bobby Austin testified that she met Allen in church in Missouri in 1979.

27 RR 113. Allen was a preacher when she met him, and he came to live with

her on several occasions. 27 RR 114-15. Allen came to live with her because he

was not welcome in his own home. 27 RR 116. Austin had eight children, all

younger than Allen, who were in the house when Allen lived with them. 27 RR

114-15. Austin testified that she trusted Allen with her children, he never

harmed them in any way, and the children treated him as an uncle and spiritual

brother. 27 RR 115. Allen was godfather to Austin’s daughter. 27 RR 117.

Allen told Austin about his conviction in Texas for assaulting two boys. 27 RR

117. Austin testified there is no comparison between the person who committed

these crimes and the person she knew; the Allen she knew was a preacher who

used to play with her children and never harmed them. 27 RR 118-19. Austin

testified that she loved Allen, that he never had anyone to love him, and that she


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considered him just like a son. 27 RR 119.

      One of Austin’s sons, Jerry Pankee, testified that he met Allen through

church when Pankee was twelve years old. 27 RR 132. Pankee considered Allen

like a brother to him. 27 RR 132-33. Allen was someone he would turn to when

he needed to talk or had a problem. 27 RR 133. Allen lived with them when

Pankee was about sixteen years old. 27 RR 133. Pankee still considered him a

brother, even though he has not seen him in a long time and even knowing what

he has done. 27 RR 134.

      Licensed master social worker with advanced clinical practitioner status,

Bettina Wright, testified that Allen was a survivor of chronic sexual abuse

during his childhood. 28 RR 3-6. Her opinion was based upon her interviews

with Allen, as well as her review of records gathered by the defense’s mitigation

experts, records that included interviews with Allen’s family. 28 RR 5-6. Wright

opined that the abuse started at an early age and continued intermittently

through childhood and into adulthood. 28 RR 7. Wright believed Allen was

abused by a his brother, his uncle, a boyfriend of his mother, the brother of a

boyfriend of his mother, and strangers. 28 RR 9. Wright opined that Allen felt

unwanted by his family early in his life, and the sexual abuse made him feel

unsafe; therefore he believed he was not of value to his family. 28 RR 12. Allen

learned that his biological father raped his mother; thus he and his twin sister


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were born of rape. 28 RR 12. His mother separated from his stepfather—the

man he thought was his father—when he was four, and he grew up without a

father figure. 28 RR 12. Wright stated that when a child is sexually assaulted,

that child can grow up not being able to trust the world, feel unvalued, and feel

unable to protect himself, thereby creating a sense of helplessness and

powerlessness. 28 RR 13. When Allen told his mother that his brother was

molesting him, she got angry and did not believe him thereby reinforcing his

feeling that he was not valued in the family. 28 RR 15. Wright opined that

someone who perpetrates the kind of abuse against a child that Allen has been

convicted of committing likely has poor coping mechanisms, low self esteem, and

poor life skills, and is more likely to act out in a stressful situation. 28 RR 16.

Wright opined that being in an impoverished household, caring for someone

else’s four young children, after having suffered sexual abuse himself, was a

stressful situation for Allen. 28 RR 17.

      Finally, Corita Hawkins testified that she has known Allen for fifteen to

twenty years, after meeting him through church. 28 RR 61-63. Hawkins

allowed Allen to live in her Houston home for a time, and he lived with her after

he was paroled from TDCJ. 28 RR 64-66. Hawkins testified that Allen tried to

find work while he was staying with her, but no one would hire him because of

his record. 28 RR 66-67. Allen helped out at her house, cleaning, cooking, and


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doing yard work. 28 RR 67. Hawkins testified that Allen took Kimberly Jones’s

children to church and told Hawkins he was just trying to help Jones get settled

even though he knew that he should not live with her. 28 RR 71-72. Allen called

Hawkins after Kienna’s death but before he was arrested; Hawkins encouraged

him to turn himself in. 28 RR 68-69. Hawkins told the jury Allen had good

qualities and pleaded for the jury to spare his life. 28 RR 69-70.

                                    ANSWER

      Allen, confined pursuant to a state-court judgment, is entitled to federal

habeas relief “only on the ground that he is in custody in violation of the

Constitution or laws or treaties of the United States.” 28 U.S.C. § 2254(a).

Under 28 U.S.C. § 2254(d), a federal court may not issue a writ of habeas corpus

for a defendant convicted under a state judgment unless the adjudication of the

relevant constitutional claim by the state court, (1) “‘was contrary to’ federal law

then clearly established in the holdings of” the Supreme Court; or (2) “‘involved

an unreasonable application of’” clearly established Supreme Court precedent;

or (3) “‘was based on an unreasonable determination of the facts’ in light of the

record before the state court.” Harrington v. Richter, 131 S. Ct. 770, 785 (2011)

(quoting (Terry) Williams v. Taylor, 529 U.S. 362, 412 (2000)); 28 U.S.C.

§2254(d). The Supreme Court has explained that a state court decision is

“contrary” to established federal law if the state court “applies a rule that


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contradicts the governing law set forth in [the Supreme Court’s] cases,” or

confronts facts that are “materially indistinguishable” from a relevant Supreme

Court precedent, yet reaches an opposite result. Williams, 529 U.S. at 405-06.

      A “run-of-the-mill” state-court decision applying the correct Supreme

Court rule to the facts of a particular case is to be reviewed under the

“unreasonable application” clause. Id. at 406.       To this end, a state court

unreasonably applies Supreme Court precedent only if it correctly identifies the

governing precedent but unreasonably applies it to the facts of a particular case.

Id. at 407–09. And as the Supreme Court recently described this deferential

standard, in order to determine if the state court made an unreasonable

application, a federal court “must determine what arguments or theories

supported or . . . could have supported, the state court’s decision; and then it

must ask whether it is possible fairminded jurists could disagree that those

arguments or theories are inconsistent with the holding in a prior decision of

this Court.” Richter, 131 S. Ct. at 786 (emphasis added). Indeed, this is the

“only question that matters under § 2254(d)(1).” Id.

      Thus, “a state court’s determination that a claim lacks merit precludes

federal habeas relief so long as ‘fairminded jurists could disagree’” on the

correctness of the state court’s decision. Richter, 131 S. Ct. at 786 (quoting

Yarborough v. Alvarado, 541 U.S. 652, 664 (2004)); see also Woodford v. Visciotti,


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537 U.S. 19, 27 (2002) (federal habeas relief is merited only where the state-

court decision is both incorrect and objectively unreasonable, “whether or not

[this Court] would reach the same conclusion”). Moreover, “evaluating whether

a rule application was unreasonable requires considering the rule’s specificity.

The more general the rule, the more leeway courts have in reaching outcomes

in case-by-case determinations.” Alvarado, 541 U.S. at 664. This is particularly

true when reviewing a state court’s application of Strickland v. Washington, 466

U.S. 668 (1984), which, when analyzed in conjunction with §2254(d), creates a

difficult-to-surmount, “doubly” deferential assumption in favor of the state court

denial. Richter, 131 S. Ct. at 786.

      “It bears repeating that even a strong case for relief does not mean the

state court’s contrary conclusion was unreasonable.” Id. at 786.

      If this standard is difficult to meet, that is because it was meant to
      be. As amended by AEDPA, § 2254(d) stops short of imposing a
      complete bar on federal court relitigation of claims already rejected
      in state proceedings. It preserves authority to issue the writ in
      cases where there is no possibility fairminded jurists could disagree
      that the state court’s decision conflicts with this Court’s precedents.
      It goes no farther. Section 2254(d) reflects the view that habeas
      corpus is a “guard against extreme malfunctions in the state
      criminal justice systems,” not a substitute for ordinary error
      correction through appeal.

Id. (emphasis added) (internal citations omitted).

      Moreover, it is the state court’s “ultimate decision” that is to be tested for

unreasonableness, and not every jot of its reasoning. Neal v. Puckett, 286 F.3d

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230, 246 (5th Cir. 2002) (en banc); Santellan v. Cockrell, 271 F.3d 190, 193 (5th

Cir. 2001); see also Catalan v. Cockrell, 315 F.3d 491, 493 (5th Cir. 2002) (“. .

. we review only the state court’s decision, not its reasoning or written opinion

. . . .”). Indeed, state courts are presumed to know and follow the law. Visciotti,

537 U.S. at 24. And, even where the state court fails to cite to applicable

Supreme Court precedent or is unaware of such precedent, AEDPA’s deferential

standard of review nevertheless applies “so long as neither the reasoning nor the

result of the state-court decision contradicts [Supreme Court precedent].” Early

v. Packer, 537 U.S. 3, 8 (2002); see also Richter, 131 S. Ct. at 786.

      If the Supreme Court has not “broken sufficient legal ground to establish

[a] . . . constitutional principle, the lower federal courts cannot themselves

establish such a principle with clarity sufficient to satisfy the AEDPA bar” under

either the contrary-to or unreasonable-application standard. Williams, 529 U.S.

at 381. Stated differently:

      As a condition for obtaining habeas corpus from a federal court, a
      state prisoner must show that the state court’s ruling on the claim
      being presented in federal court was so lacking in justification that
      there was an error well understood and comprehended in existing
      law beyond any possibility for fairminded disagreement.

Richter, 131 S. Ct. at 786-87 (emphasis added). And a federal court must be

wary of circumstances in which it must “extend a [legal] rationale” of the

Supreme Court “before it can apply to the facts at hand” because such a process


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suggests the proposed rule is not clearly established. Alvarado, 541 U.S. at 666.

      AEDPA also provides that the state court’s factual findings “shall be

presumed to be correct” unless the petitioner carries “the burden of rebutting the

presumption of correctness by clear and convincing evidence.” 28 U.S.C. §

2254(e)(1). “The presumption of correctness not only applies to explicit findings

of fact, but it also applies to those unarticulated findings which are necessary to

the state court’s conclusions of mixed law and fact.” Valdez v. Cockrell, 274 F.3d

941, 948 n.11 (5th Cir. 2001).       A reviewing court accords deference to

determinations of credibility made by the factfinder; this deference also extends

to findings based on “physical or documentary evidence or inferences from other

facts.” Anderson v. City of Bessemer City, N.C., 470 U.S. 564, 574 (1985).

      And except for the narrow exceptions contained in § 2254(e)(2), the

evidence upon which a petitioner would challenge a state-court fact finding must

have been presented to the state court. Cullen v. Pinholster, 131 S. Ct. 1388,

1398 (2011). Because a federal habeas court is prohibited from granting relief

unless a decision was based on “an unreasonable determination of the facts in

light of the evidence presented in the state court proceeding,” it follows that

demonstrating the incorrectness of a state-court fact finding based upon

evidence not presented to the state court would be of no avail to a habeas

petitioner. 28 U.S.C. § 2254(d)(2). “It would be contrary to that purpose to allow


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a petitioner to overcome an adverse state-court decision with new evidence

introduced in a federal habeas court and reviewed by that court in the first

instance effectively de novo. . . . It would be strange to ask federal courts to

analyze whether a state court’s adjudication resulted in a decision that

unreasonably applied federal law to facts not before the state court.” Pinholster,

131 S. Ct. at 1399.

      Finally, where a habeas petitioner has failed to fully develop the factual

bases of his claims in state court, he is precluded from further factual

development in federal court unless (1) his claims rely on a new rule of

constitutional law or a factual predicate previously undiscoverable through the

exercise of due diligence; and (2) he establishes by clear and convincing evidence

that, but for constitutional error, no reasonable factfinder would have found him

guilty. 28 U.S.C. § 2254(e)(2). A failure to meet this standard of “diligence” will

bar a federal evidentiary hearing in the absence of a convincing claim of actual

innocence that can only be established by newly discovered evidence. (Michael)

Williams v. Taylor, 529 U.S. 420, 436 (2000). But even if the petitioner can meet

the foregoing standard, it is within this Court’s discretion to deny a hearing if

sufficient facts exist to make an informed decision on the merits. Clark v.

Johnson, 227 F.3d 273, 284-85 (5th Cir. 2000).




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I.     The State Is Required To Prove All Aggravating Factors Beyond A
       Reasonable Doubt; Therefore The Texas Capital Sentencing Scheme Is
       Constitutional Under Apprendi5 And Ring.6 (Issue 1)

       Allen complains that the Texas death penalty scheme violates the Sixth,

Eighth, and Fourteenth Amendments by not requiring the State to prove

aggravating factors relevant to the mitigation special issue beyond a reasonable

doubt before the jury may sentence the defendant to death. Petition at 21. Allen

argues that the CCA’s rejection of this claim is not entitled to deference because

it is “fundamentally opposed” to Ring and incorrectly holds that Apprendi did not

address who bore the burden of proof. Petition at 22. Allen’s arguments are

unconvincing.

       A.    State court findings.

       Allen raised this issue on direct appeal. The CCA overruled this claim,

finding Allen’s reliance on Apprendi misplaced. The state court held that

Apprendi applies only to facts that increase the penalty beyond the “prescribed

statutory maximum” whereas under Texas Penal Code sections 12.31 and 19.03,

the “prescribed statutory maximum” for capital murder is death. Therefore,

“[n]othing the jury or judge decided during the punishment phase could have

enhanced [Allen’s] sentence beyond the prescribed range[,]” and Apprendi


       5
             Apprendi v. New Jersey, 530 U.S. 466 (2000)
       6
             Ring v. Arizona, 536 U.S. 584 (2002)

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focused only on who should be the factfinder for sentence enhancement, not who

bears the burden of proof. Allen, 108 S.W.3d at 285.

      Allen raised this claim again on state habeas review, where the state court

denied relief concluding the claim had been raised and rejected on direct appeal.

3 SHCR 909, #60; 921-22, #25.

      B.    Allen fails to show a constitutional violation.

      Allen argues that, because the CCA holds that aggravating factors may be

considered as part of the mitigation special issue, the jury should have been

instructed that any aggravating factors considered by the jury when answering

the mitigation special issue must be proven by the State beyond a reasonable

doubt. Petition at 26 (citing Jackson v. State, 992 S.W.2d 469, 478 (Tex. Crim.

App. 1998)). Allen complains that, during closing arguments, the State urged

the jury to consider aggravating circumstances which had not been proven

beyond a reasonable doubt and which were only relevant to the mitigation

special issue. Petition at 26-28. Specifically, Allen’s use of the church to impose

evil, 29 RR 38, 40, 51; rape allegations, 29 RR 41-42, 51, 56; and his inability to

be rehabilitated, 29 RR 47, 50, 52, 53, 55.

      First, as to Allen’s argument that, because the mitigation special issue

encompasses both aggravating and mitigating circumstances, the jury must be

instructed to find those aggravating circumstances beyond a reasonable doubt,


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Petition at 22-23, the jury instructions, as given, more than sufficiently required

the State to prove the existence of any extraneous offense or bad act that may

be considered in aggravation, beyond a reasonable doubt. Regarding the future

dangerousness special issue, the jury was twice instructed that the State bore

the burden of proving the issue “beyond a reasonable doubt[.]” 2 CR 568. The

jury was also given general instructions regarding extraneous crimes and bad

acts for which the defendant has not been charged. See 2 CR 571. These

instructions applied to the jury’s determination in general and not to a

particular special issue.   The jury was repeatedly instructed that it “may

consider such evidence only if the extraneous crime or bad act has been shown

by the State beyond a reasonable doubt to have been committed by the

defendant.” 2 CR 571. The jury was instructed that Allen need not prove his

innocence of any extraneous offense or act of misconduct and that “[t]he

presumption of innocence alone is sufficient for you to find that the defendant

did not engage in the extraneous offense or act of misconduct that has been

placed in evidence unless the jurors are satisfied beyond a reasonable doubt of

the defendant’s guilt or responsibility therefor after careful and impartial

consideration of all the evidence in the case.” 2 CR 571. Additionally, “if you

find and believe beyond a reasonable doubt that the defendant committed an

extraneous crime or bad act, then you may consider such evidence in answering


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the special issues. However, if you have a reasonable doubt that the defendant

committed an extraneous crime or bad act then you may not consider such

evidence in answering the special issues.” 2 CR 571. Thus, if aggravating

evidence was applicable to only the mitigation special issue (which the Director

disputes), then the jury was sufficiently instructed that the evidence must be

found beyond a reasonable doubt before it may be considered.

      Furthermore, contrary to Allen’s argument, the aggravating evidence

referred to by the prosecutor during closing arguments, and cited by Allen in

support of this claim, was relevant to both the future dangerousness and

mitigation special issues. The fact that Allen used his religious background to

influence past victims is certainly applicable to his future dangerousness in

prison as he could continue to use religion to manipulate guards or other

prisoners. See Petition at 26. Regarding the rape contentions, the argument

that Allen will not stop preying on vulnerable victims and will find a way to

satisfy his needs is applicable to a determination of his future propensity for

violence in prison. And the suggestion that he lied about being raped as a child

to gain favor is also relevant to his future dangerousness because it

demonstrates his ability to manipulate those around him. See Petition at 27.

The State’s argument discounting Allen’s apparent remorse for his actions is also

relevant to Allen’s ability to manipulate and thus to his future behavior.


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Petition at 27. Finally, any argument by the prosecution that Allen was given

an opportunity at rehabilitation but failed is certainly an aggravating factor to

be considered in answering the future danger special issue. See Petition at 27-

28. In no way could these cited arguments “only impinge on the mitigation

special issue.” Petition at 26. Because this evidence was applicable to the future

dangerousness special issue, the instruction addressing the State’s burden of

proof on that issue applies to this evidence. And the additional instructions on

extraneous crimes or bad acts suffice to cover all other aggravating evidence that

conceivably fell outside the future dangerousness special issue.

      Regarding the application of Apprendi and Ring, the state court

reasonably concluded that these cases afford Allen no relief. Allen complains

that the state court’s conclusion that “reliance on Apprendi is misplaced” is

contrary to the clearly established federal law contained in Apprendi and Ring.

Petition at 21. Allen’s argument focuses on the state court’s finding that

“Apprendi did not address who bears the burden of proof but focused on who

should be the factfinder for sentence enhancement.” Id. (citing Allen, 108

S.W.3d at 285). Allen complains that “the finding that mitigating evidence does

not call for a sentence of life is the equivalent of an element of a greater offense,

especially where the jury is permitted to consider aggravating factors in deciding

on the mitigation special issue.” Petition at 25. Thus, it must be proved beyond


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a reasonable doubt. Petition at 25-26.

      However, the Fifth Circuit has “specifically held that the Texas death

penalty scheme did not violate either Apprendi or Ring by failing to require the

state to prove beyond a reasonable doubt the absence of mitigating

circumstances.” Scheanette v. Quarterman, 482 F.3d 815, 828 (5th Cir. 2007);

see also Ortiz v. Quarterman, 504 F.3d 492, 504-05 (5th Cir. 2007); Granados v.

Quarterman, 455 F.3d 529, 536 (5th Cir. 2007); Rowell v. Dretke, 398 F.3d 370,

379 (5th Cir. 2005). In Granados the Fifth Circuit addressed a similar argument

that the absence of mitigating evidence is an aggravating circumstance whose

presence increases the maximum punishment from life to death. 455 F.3d at

536. The Court rejected this contention. It found no constitutional violation

because “[a]ll the elements of capital murder were put to the jury with

instruction that the evidence had to persuade them beyond a reasonable doubt”;

the trial judge made no finding that exposed the petitioner to the death penalty;

the jury was instructed that it could affirmatively answer the first two special

issues only if they found so beyond a reasonable doubt; and there was no

contention that the mitigating evidence could not find expression in the jury’s

answers. Id. at 536. The court concluded that “the state was required to prove

beyond a reasonable doubt every finding prerequisite to exposing Granados to

the maximum penalty of death.” Id. The court was “not persuaded that Texas


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violated any principle of Apprendi or Ring . . . by not asking the jury to find an

absence of mitigating circumstances beyond a reasonable doubt in addition to

questions it required the jury to answer.” Id. at 536-37. “Put another way, a

finding of mitigating circumstances reduces a sentence from death, rather than

increasing it to death.” Id. at 537.

      Apprendi and Ring do not apply to mitigating circumstances. Apprendi

squarely addressed the right to jury trial for facts in aggravation of punishment,

whereas mitigating evidence and manipulation of the burden of proof were

explicitly not at issue. 530 U.S. at 475, 477 & 490 n. 16. Ring was even more

confined in its analysis, examining the application of the right to trial by jury

but again expressly excluding mitigating circumstances. 536 U.S. at 588 & 597.

These cases simply do not support the proposition that the State must prove the

absence of mitigating circumstances beyond a reasonable doubt.

      Allen’s argument that, in answering the mitigation special issue, the jury

must consider aggravating factors that should be proven beyond a reasonable

doubt, see Petition at 23, does not contradict the Fifth Circuit’s judgment. The

Fifth Circuit has confirmed that the Texas capital juries make the death-

eligibility determination at the guilt-innocence phase. Turner v. Quarterman,

481 F.3d 292, 299-300 (5th Cir. 2007) (citing Johnson v. Texas, 509 U.S. 350, 362

(1993)). The jury then determines whether the sentence should be imposed at


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the sentencing phase, and “Ring is inapposite to any discussion of the

constitutional requirements of the selection phase.” Id. The Texas special issues

do not “increase[] the penalty for [capital murder] beyond the prescribed

statutory maximum” in violation of the United States Constitution.                  See

Apprendi, 530 U.S. at 490. In this case, the elements of capital murder were

indicted, submitted to the jury, and proven beyond a reasonable doubt as a

prerequisite to reaching the punishment phase of Allen’s trial.7 And, once

Allen’s trial proceeded to the punishment phase, the special issues were

submitted to the jury according to Texas law. Tex. Code Crim. Proc. art. 37.071,

§ 2(b) and (e). 2 CR 574-75. Thus, Texas law did not improperly attempt to

bypass the Sixth and Fourteenth Amendment rationale of Apprendi and Ring in

determining Allen’s guilt and his “death eligibility.”

      Although a Texas capital-sentencing jury must specifically answer the

mitigation special issue in the negative to render a death sentence, the actual

function of that special issue is plainly meant to inure to the defendant’s benefit

by allowing the jury an avenue to give effect to mitigating evidence. Thus,

mitigation special issue is a vehicle through which the jury is given the

opportunity to make an individualized determination of the offender’s moral


      7
             Specifically, the State proved that Allen killed a child under six years of
age. 1 CR 11; See Tex. Penal Code § 19.03(a)(8). The prescribed maximum penalty for
capital murder is death. Tex. Penal Code §§ 12.31(a) & 19.03(b).

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culpability, as required by the Supreme Court. Penry v. Johnson, 532 U.S. 782,

797 (2001) (“Penry II”); Eddings v. Oklahoma, 455 U.S. 104, 111-12 (1982);

Woodson v. North Carolina, 428 U.S. 280, 303-04 (1976). In making the decision,

the jury is instructed to consider all the evidence, including the circumstances

of the offense, the defendant’s character and background, and general moral

culpability of the defendant.   Tex. Code Crim. Proc. art. 37.071, § 2 (e) & (f).

The jury is not required to agree on what evidence supports an affirmative

answer. Id. The mitigation issue in fact confers upon the jury a broad ability to

show leniency and reduce the defendant’s sentence to life imprisonment. Thus,

it is untenable that this special issue is functionally equivalent to an

aggravating factor. An affirmative finding of aggravation is different than a

finding of mitigation, which reduces the sentence from the statutory maximum.

See Granados, 455 F.3d at 537.

      Moreover, both Apprendi and Ring acknowledge this distinction between

aggravating factors and mitigating circumstances. In Ring, the Supreme Court

emphasized that the defendant’s claim was “tightly delineated” to the issue of

whether the Sixth Amendment requires a jury finding on the aggravating

circumstances asserted against him and made no assertions with respect to

mitigating circumstances. Ring, 536 U.S. at 597 n. 4. The Court’s ultimate

conclusion was limited accordingly. Id at 609 (holding that Walton v. Arizona,


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497 U.S. 639 (1990), was overruled to extent it “allows a sentencing judge, sitting

without a jury to find an aggravating circumstance necessary for the imposition

of the death penalty,” and that “[b]ecause Arizona’s enumerated aggravating

factors operate as the functional equivalent of an element of a greater offense,

the Sixth Amendment required that they be found by a jury”)(internal citations

and quotations omitted)).

      Likewise, the Apprendi decision explicitly noted and reaffirmed the

distinction between “facts in aggravation of punishment and facts in mitigation.”

Apprendi, 530 U.S. at 490 n. 16. There, the Court noted that where a judge finds

a fact which allows a defendant to “escape the statutory maximum” attached to

a jury verdict, that finding “neither expos[es] the defendant to a deprivation of

liberty greater than that authorized by the verdict according to the statute, nor

. . . impos[es] upon the defendant a greater stigma than that accompanying the

verdict alone.” Id. Similarly, in a concurring opinion joined by Justice Scalia,

Justice Thomas pointed out that potentially mitigating facts are not an element

of a crime that might increase a sentencing decision. Id. at 501(Thomas, J.

concurring, joined by Scalia, J.)     Neither Ring nor Apprendi contemplate

extending the Sixth Amendment’s reasonable-doubt requirement to a capital

jury’s finding regarding mitigating evidence.

      Finally, because no constitutional authority required the assignment of a


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burden of proof with regard to the Texas mitigation special issue at the time

Allen’s conviction became final, his claim is Teague-barred. Teague, 489 U.S. at

310.

        The state court reasonably concluded that Apprendi afforded Allen no

relief, and that determination is entitled to deference. Relief should be denied.

II.     Requiring Individual Counties To Pay For Death Penalty Prosecution
        Does Not Result In The Arbitrary Imposition
                                          Imposition Of The Death Penalty.
        (Issue 2)

        Allen argues that the State of Texas, by requiring individual counties to

fund the prosecution of capital cases, injects arbitrariness into the selection of

which cases will be tried as capital cases, in violation of the Eighth and

Fourteenth Constitutional Amendments. Petition at 28. Allen does not argue

that the death penalty scheme is unconstitutional simply because prosecutors

have discretion to decide who is death-worthy; rather, his argument focuses on

the fact that the Texas death penalty scheme injects factors unrelated to the

crime itself—budgetary concerns—into the prosecutor’s decision-making process.

Petition at 35-36.

        Allen raised this issue on direct appeal. The CCA first noted that, while

Allen presented information regarding the number of offenders sentenced to

death and executed from each county, he failed to provide budgetary data for

each of the counties. Allen, 108 S.W.3d at 286. Also, while a larger county may


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be in a better financial position to seek the death penalty than a smaller county,

the Texas Attorney General’s Office will provide assistance to smaller counties

in prosecuting capital cases. Id. at 286 n.3 (citing Bell v. State, 938 S.W.2d 35,

55 n.31 (Tex. Crim. App. 1996)).8 And finally, one of the articles cited by Allen

stated that an ample budget was only one of several factors that contributed to

the higher number of convictions in Harris County. Id. at 286. The CCA found,

the fact that Harris County is a bigger county with a bigger budget that

sentences more offenders to death than any other county, does not establish

disparate treatment among similarly situated defendants.            Id. The court

concluded that Allen “made no threshold showing of disparate treatment

between himself and other similarly situated defendants.” Id. at 287. Allen also

raised the issue again on state habeas review, where the state court denied relief

as the claim had been raised and rejected on direct appeal. 3 SHCR 909-10, #62-

63; 922, #27. The CCA’s conclusions were not unreasonable.

      The Supreme Court has held that “so long as the prosecutor has probable

cause to believe that the accused committed an offense defined by statute, the



      8
             The CCA incorrectly notes that the “Capital Litigation Section” provides
this service when actually the Criminal Prosecutions Division is the designated
provider. See https://intranet.oag.state.tx.us/criminal/cle/index.shtml




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decision, whether or not to prosecute, and what charge to file or bring before a

grand jury, generally rests entirely in his discretion.” Bordenkircher v. Hayes,

434 U.S. 357, 364 (1978); see Neal v. State, 150 S.W.3d 159, 173 (Tex. Crim. App.

2004). This discretion is tempered by certain constitutional restraints. For

example, the Equal Protection Clause requires that the decision to seek the

death penalty cannot be based on an arbitrary classification, such as race or

religion. Id.; see also United States v. Armstrong, 517 U.S. 456, 464 (1996);

Oyler v. Boles, 368 U.S. 448, 456 (1962). Allen makes no allegation that the

prosecution sought the death penalty against him because of his race or

ethnicity, nor does he claim that a county’s funding leads prosecutors to

discriminate on the basis of any suspect class. Indeed, the Supreme Court has

never held that capital murderers constitute a suspect class and has even

indicated otherwise. See Gregg v. Georgia, 428 U.S. 153, 187-88 (1976)(decision

to authorize capital punishment for some classes of crimes was one best left to

legislature unless “clearly wrong”). Since suspect classification is not implicated,

the Texas death-penalty statute “is presumed to be valid and will be sustained

if the classification drawn by the statute is rationally related to a legitimate

state interest.” City of Cleburne, Tex. v. Cleburne Living Ctr., 473 U.S. 432, 440

(1985). Given that prosecutorial discretion is essential to the criminal justice

process, see McCleskey v. Kemp, 481 U.S. 292, 297 (1987), Allen cannot satisfy


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this standard.

      Allen recognizes and does not dispute that the prosecutor has discretion

to seek or not seek the death penalty in a given case. Petition at 34. Allen

argues instead that the issue he raises “is whether or not the [Constitution]

allows defendants to be treated differently based solely upon the location where

the offense was committed.” Petition at 35. However, Allen committed an act

for which the United States Constitution and Texas laws permit the imposition

of the death penalty. McCleskey, 481 U.S. at 297. The fact that Allen chose to

commit this heinous capital murder in a wealthy county versus a poor county

was an act of his own choosing. But the fact that the prosecutor could afford to

seek the punishment that his crime so clearly called for does not render the

procedure under which he was convicted and sentenced unconstitutional.

      Nevertheless, in support of his claim, Allen cites to a chart from 2003

listing the number of offenders currently on death row from each Texas county;

a chart from the TDCJ website indicating the number of executed offenders from

each county; a press release from the office of State Senator Eddie Lucio, Jr.,

regarding the life-without-parole bill, stating that a Texas death penalty case

costs taxpayers an average of $2.3 million dollars and suggesting that “[r]ural

counties cannot always afford to try a death penalty case”; and two Houston

Chronicle stories discussing Harris County’s pursuit of the death penalty. See


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Petition at 29-30; Appendix A. However, as the state court noted, none of the

cited sources provides the empirical data necessary to support Allen’s claim. See

Allen, 108 S.W.3d at 286 (citing Bell v. State, 938 S.W.2d 35,55 (Tex. Crim. App.

1996),and King v. State, 953 S.W.2d 266, 274 (Tex. Crim. App. 1997)).

      Apart from the failure of the cited evidence to supply empirical data

supporting the allegations, the stories demonstrate that budgetary concerns—or

lack thereof—over the cost of the death penalty are but one factor contributing

to Harris County’s ability to try more cases than any other county and do not

establish unconstitutionally disparate treatment of capital defendants from one

county to the next. The Tolson article makes clear that budgetary matters are

but one of many factors that result in higher numbers of death penalty

convictions in Harris County. See Petitioner’s Appendix A (Mike Tolson, A

Deadly Distinction, Houston Chronicle, Feb. 5, 2001). For example, the article

suggests that philosophical differences among district attorneys in their pursuit

of the death penalty could lead to higher totals from Harris County. The article

primarily attributes Harris County’s number of death sentences to the

philosophy and character of former Harris County District Attorney John B.

Holmes, Jr., and his staff. Holmes states that “rules . . . ought to be enforced”

and “[i]f the death penalty substantively fits a given crime and I have enough

stuff so that jury will give it,” to not prosecute would “promote disrespect for the


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law[.]” See Petitioner’s Appendix A (Mike Tolson, A Deadly Distinction, Houston

Chronicle, Feb. 5, 2001, at 2); see id. at 5 (“The law made no mention of special

cases.”). This same philosophy was followed by Holmes’s successor, Chuck

Rosenthal. Id. at 3. Harris County’s “hardnosed philosophy translates into five

or 10 more death trials than are seen in any other Texas jurisdiction.” Id. at 7.

      The article also attributes the increased numbers of death sentences in

Harris County to circumstances unique to Texas and Harris County.

Specifically, the willingness of the State and Harris County to follow through

with executions, a capital murder statute which “leans towards the imposition

of death,” a system that allows trial judges to set execution dates rather than the

governor or top appellate court, a streamlined state appellate process with tight

deadlines, conservative appellate courts that rarely reverse convictions; and in

Harris County specifically, a history of ample budgets providing sufficient staff

and resources, adequate number of felony courts, judges friendly to capital

sentencing, and, until recently, an underfunded and sometimes underqualified

defense bar. Id. at 7-8; see also Allen, 108 S.W.3d at 286 n.4. Finally, the article

notes that, “[b]ehind it all, pushing the execution totals even higher, is an

immense tide of regional culture, religion and history,” which set the stage for

the arrival of a prosecutor such as Holmes “with a literalist vision of law and

order.” Id. at 8. In short: “The people of Harris County believe in the death


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penalty. And those same people employ the district attorney and his staff.” Id.

at 11.

         Finally, as noted by the Tolson article, even Harris County cannot always

afford to try a death penalty case. Id. at 17. “Despite abundant resources,

[Harris County prosecutors] could not pursue the death penalty in all capital

cases even if they wanted to. Trying 30 or more death cases a year would turn

the courts into quagmire. At best, they can do about 15.” Id. Thus, even Harris

County must “pick and choose.” Id.9 For this reason, a poorer county’s inability

to always pursue a death penalty when it so desires does not necessarily

distinguish it from larger and wealthier counties and does not establish that

Allen’s death sentence was arbitrarily imposed. Additionally, Allen’s reliance

on the monetary angle is weakened by the fact that the Texas Attorney General’s

Office provides assistance to those counties without the resources to litigate such

costly, complicated trials. See Allen, 108 S.W.3d at 286, n.3. The Criminal

Prosecutions Division “provide[s] investigative and prosecutorial assistance to

local law enforcement entities and county and/or district attorneys across the



         9
              According to the article, the decision to seek the death penalty “is
influenced by myriad details” including the facts of the crime, the heinousness of the
crime, the danger the defendant presents; the defendant’s demeanor, appearance, and
sense of remorse; the wishes of the victim’s family; and the likelihood that a jury would
return a death verdict. Id. at 6. “Each capital case is examined in detail. In most, the
death penalty is not sought[.]” Id. at 5.

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state of Texas when the county does not have the resources to investigate and

prosecute complex cases or where a conflict of interest prohibits them from

taking part in the prosecution.”10 Thus, the budgetary disparity between smaller

and larger counties is not so great a concern, given the availability of assistance

from the State.

      In Jurek v. Texas, the Supreme Court rejected an argument alleging “that

arbitrariness still pervades the entire criminal justice system of Texas from the

prosecutor’s decision whether to charge a capital offense in the first place and

then whether to engage in plea bargaining, through the jury’s consideration of

lesser included offenses, to the Governor’s ultimate power to commute death

sentences” finding that “[t]his contention fundamentally misinterprets the

Furman11 decision, and we reject it for the reasons set out in our opinion today

in Gregg v. Georgia, 428 U.S., at 199[.]” 428 U.S. 262, 273 (1976). In Gregg, the

Supreme Court noted:


      10
             See https://intranet.oag.state.tx.us/criminal/cle/index.shtml (emphasis
added).
      11
             Furman v. Georgia, 408 U.S. 238 (1972). The Furman Court held that
several state capital-sentencing schemes violated the Eighth and Fourteenth
Amendments by allowing the death penalty to be “wantonly and . . . freakishly
imposed” by permitting unbridled discretion in sentencing. Nelson v. Quarterman, 472
F.3d 287, 293 (5th Cir. 2006) (citing Furman, 408 U.S. at 310). In response, Texas
rewrote its death penalty statute to include the special-issues-capital-sentencing
scheme, which was designed to guide jurors’ consideration of mitigating evidence
offered in the sentencing phase of capital cases. Id. The Jurek court later upheld the
facial constitutionality of Texas capital-sentencing scheme. Id. at 293-94.

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      The existence of these discretionary stages is not determinative of
      the issues before us. At each of these stages an actor in the criminal
      justice system makes a decision which may remove a defendant
      from consideration as a candidate for the death penalty. Furman, in
      contrast, dealt with the decision to impose the death sentence on a
      specific individual who had been convicted of a capital offense.
      Nothing in any of our cases suggests that the decision to afford an
      individual defendant mercy violates the Constitution.

428 U.S. at 199. While similarly situated capital murderers in smaller counties

may ultimately escape the death penalty because a prosecutor determines the

case would be too costly to try, see Petition at 35, this act of mercy is not a

violation of Allen’s constitutional rights. See Lawton v. State, 913 S.W.2d 542,

559 (Tex. Crim. App. 1995)(“The constitutional proscriptions against the

arbitrary and erratic imposition of the death sentence do not apply to decisions

against the imposition of the death sentence[.]”), overruled on other grounds by,

Mosely v. State, 983 S.W.2d 249, 264 n.18 (Tex. Crim. App. 1998).

      The Supreme Court went on to say that “Furman held only that, in order

to minimize the risk that the death penalty would be imposed on a capriciously

selected group of offenders, the decision to impose it had to be guided by

standards so that the sentencing authority would focus on the particularized

circumstances of the crime and the defendant.” Gregg, 428 U.S. at 199. In a

footnote, the court explained that,

      [i]n order to repair the alleged defects pointed to by [Gregg], it
      would be necessary to require that prosecuting authorities charge
      a capital offense whenever arguably there had been a capital

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      murder and that they refuse to plea bargain with the defendant. If
      a jury refused to convict even though the evidence supported the
      charge, its verdict would have to be reversed and a verdict of guilty
      entered or a new trial ordered, since the discretionary act of jury
      nullification would not be permitted. Finally, acts of executive
      clemency would have to be prohibited.

Id. at 199 n.50. The Court rejected such a system as it “would have the vices of

the mandatory death penalty statutes we hold unconstitutional today in

Woodson v. North Carolina, [428 U.S. 280 (1976)], and Roberts v. Louisiana, [428

U.S. 325 (1976)].” Id. No authority requires a set procedure for the prosecutor’s

determination of what eligible cases should be tried as a death penalty crime or

what factors should be considered when making that determination.

      In Gregg, the Supreme Court wrote that “when a life has been taken

deliberately by the offender, we cannot say that the punishment is invariably

disproportionate to the crime. It is an extreme sanction, suitable to the most

extreme of crimes.” 428 U.S. at 187 (opinion of Stewart, Powell, Stevens, JJ.).

The Court acknowledged the concerns of Furman that the imposition of the

death penalty not be “arbitrary or capricious” and said that “a carefully drafted

statute that ensures that the sentencing authority is given adequate information

and guidance” will alleviate such. Id. at 195. And as a general proposition, the

Furman concerns were “best met by a system that provides for a bifurcated

proceeding at which the sentencing authority is apprised of the information

relevant to the imposition of sentence and provided with standards to guide its

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use of the information.” Id. Allen received a trial that comported with these

requirements. The fact that Harris County determined that, of the fifteen or so

death penalty cases it could afford to prosecute that year, see Petitioner’s

Appendix A (Mike Tolson, A Deadly Distinction, Houston Chronicle, Feb. 5,

2001, at 17), Allen’s case was one truly warranting a death penalty prosecution

does not demonstrate that his death sentence was arbitrarily inflicted.

III.    The Texas “12-10” Rule Is Not Unconstitutional. (Issue 3)

        Allen argues that the Texas “12-10” Rule and the law prohibiting jurors

from being informed of the effect of their failure to agree on the issues violate the

Eighth and Fourteenth Amendments as construed by Mills v. Maryland, 486

U.S. 367 (1988), and McKoy v. North Carolina, 494 U.S. 433 (1990). Petition at

38.

        Allen raised this claim on state habeas review.            The trial court

recommended denying relief on grounds that Article 37.071, § 2(a)(1), prohibits

the trial court from informing jurors of the effect of their failure to agree on the

special issues, and the CCA has previously rejected similar challenges to this

statute. 3 SHCR 910-11, #64-67.12 The court concluded that Allen failed to show

the unconstitutionality of the prohibition against informing jurors of the effects



        12
              See Smith v. State, 919 S.W.2d 96 (Tex. Crim. App. 1996); Eldridge v.
State, 940 S.W.2d 646 (Tex. Crim. App. 1996)

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of a single “no” vote, failed to give the court a reason to reconsider its established

caselaw on this point, and failed to show that the punishment instruction

injected confusion and arbitrariness into the trial court proceeding or created an

unreliable sentencing determination. 3 SHCR 923, #28-30. The trial court also

found that it had previously rejected similar challenges to the “12-10” Rule, 3

SHCR 911-12, #68-72,13 and concluded that Allen failed to show the “12-10” Rule

was unconstitutional or that the CCA should overrule established caselaw on

this issue, 3 SHCR 924, #31-32.

      Allen argues that state court’s rejection of this claim was unreasonable

because the CCA precedent, upon which the state court relied, too narrowly

construes Mills and McKoy by limiting the holdings to cases where jury

instructions require juror unanimity on the same mitigating evidence before

they could give it effect, when Mills also required that each juror be permitted

to consider and give effect to mitigating evidence. Allen urges that the failure

to tell jurors that one hold-out juror will result in a life sentence misleads the

jurors and prevents them from giving effect to all evidence. See Petition at 44-

48. However, the CCA’s precedent has been upheld by the Fifth Circuit and is

consistent with Supreme Court authority.             Therefore, the state court’s


      13
             See Resindez v. State, 112 S.W.3d 541, 548-49 (Tex. Crim. App. 2003);
Williams v. State, 937 S.W.2d 479, 490 (Tex. Crim. App. 1996); Lawton v. State, 913
S.W.2d 542, 558-59 (Tex. Crim. App. 1995).

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determination was reasonable and entitled to deference.

        Allen supports his claim with decisions from the Sixth and Seventh

Circuit, while ignoring the binding authority of this circuit. See Petition at 42-

44.14    The Fifth Circuit has consistently rejected different variations of

challenges to the “12-10” Rule raised by other Texas habeas petitioners, based

both on the substantive merits of the claim and on the court’s conclusion that to

extend Mills to grant relief in a Texas case would require the court to announce

and apply a new rule of constitutional law, a practice prohibited on federal

habeas review by the nonretroactivity principle of Teague v. Lane. See Druery

v. Thaler, 647 F.3d 535, 542-44 (5th Cir. 2011), cert. denied, 132 S. Ct. 1550


        14
             Allen relies on Kubat v. Thieret, 867 F.2d 351, 373 (7th Cir. 1989), and
Davis v. Mitchell, 318 F.3d 682 (6th Cir. 2003), in support of his claim. Petition at 42-
43. However, the Fifth Circuit has specifically held that Kubat “does not supersede
intervening Fifth Circuit precedent regarding challenges to Texas’ 12-10 rule.” Druery
v. Thaler, 647 F.3d 535, 543 (5th Cir. 2011). This holding applies with equal force to
the Sixth Circuit decision.
       Moreover, both Kubat and Davis involved sentencing schemes different from
Texas, and both dealt with the submission of a jury instruction that incorrectly
required unanimous agreement on the decision not to impose death. See Davis, 318
F.3d at 689-91(jury instructions incorrectly informed jurors that they must first
unanimously reject the death penalty before considering sentencing options, and jury
was never told that individual jurors may consider mitigating circumstances in the
weighing process regardless of lack of agreement over mitigating factor); Kubat, 867
F.2d at 370-71 (instructions clearly mis-stated state law by calling for unanimous
agreement on decision not to impose the death penalty). Those courts concluded that
the erroneous instructions conceivably precluded individual jurors from giving effect
to mitigating evidence. Davis, 318 F.3d at 689; Kubat, 867 F.2d at 372-73. In Allen’s case
the jurors were properly instructed in accord with 37.071, § (2), that they need not
agree on what particular evidence supports their decision. Thus, the individual jurors
were not precluded from considering mitigating evidence.

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(2012) (denied COA relying on circuit precedent holding that Mills not applicable

to Texas, and extension of Mills is Teague-barred); Hughes v. Dretke, 412 F.3d

582, 594 (5th Cir. 2005) (relief denied based on Teague); Alexander v. Johnson,

211 F.3d 895, 897 (5th Cir. 2000) (relief denied based on Teague); Miller v.

Johnson, 200 F.3d 274, 288-89 (5th Cir. 2000) (holding Mills inapplicable to

Texas capital sentencing proceeding); Woods v. Johnson, 75 F.3d 1017, 1036 (5th

Cir. 1996) (relief denied based both on Teague and on the merits); Jacobs v.

Scott, 31 F.3d 1319, 1328-29 (5th Cir. 1994) (relief denied on the merits); Webb

v. Collins, 2 F.3d 93, 95 (5th Cir. 1993) (relief denied based on Teague).

Therefore, circuit precedent compels rejection of this claim as a matter of law.

      In any event, Allen’s reliance on Mills v. Maryland is misplaced. The

Court in Mills found Eighth Amendment error because jury unanimity

instructions created a “substantial probability that individual jurors . . . may

well have thought they were precluded from considering any mitigating evidence

unless all 12 jurors agreed on the existence of a particular such circumstance.”

Mills, 486 U.S. at 384. However, the holding in Mills has no application to states

such as Texas that do not require the jury to make threshold factual

determinations that limit the mitigating evidence available to be weighed by the

jury on the ultimate sentencing issues. Maryland is a “weighing” state with a

two-step sentencing process: The jury was required to first make preliminary


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factual determinations that aggravating or mitigating circumstances had or had

not been proved and, next, to weigh the proven aggravating and mitigating facts

to actually decide the sentence in a particular case. See Md. Ann. Code art. 27,

§ 413, repealed by Acts 2002, c. 26, § 1, eff. Oct. 1, 2002. The Supreme Court’s

concern was that a single juror’s belief that a mitigating circumstance had not

been proven would prevent the entire jury from weighing that factor when

deciding the ultimate sentencing issues. Mills, 486 U.S. at 373-74; McKoy, 494

U.S. at 438. The constitutional infirmity was contained in the first part of this

two-step process, which has no counterpart under the Texas statute. Under the

Texas system, all jurors can take into account any mitigating circumstance. One

juror cannot preclude the entire jury from considering a mitigating

circumstance. Thus, Mills is inapplicable.

      Further, nothing in Mills or its progeny holds that a state may not require

unanimity or some lesser degree of juror agreement on the ultimate sentencing

issues in a capital case. To the contrary, as Justice Blackmun explained:

      Juries are typically called upon to render unanimous verdicts on the
      ultimate issues in a given case. But it is understood that different
      jurors may be persuaded by different pieces of evidence, even when
      they agree on the bottom line. Plainly, there is no general
      requirement that the jury reach agreement on the preliminary
      factual issues which underlie the verdict.

McKoy, 494 U.S. at 449-50 (concurring opinion) (footnote omitted). Allen

essentially claims entitlement to an instruction authorizing a jury deadlock, but

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the Constitution does not require this. The Supreme Court has rejected, in an

analogous case, the theory that a trial court’s failure to instruct the jury as to

the consequences of deadlock gives rise to an Eighth Amendment violation.

Jones v. United States, 527 U.S. 373, 381 (1999). The Fifth Circuit has also

recognized that there is no constitutional right to jury instructions instructing

individual jurors how they can achieve a “hung jury.”              See Turner v.

Quarterman, 481 F.3d 292, 300 (5th Cir. 2007) (recognizing Fifth Circuit

precedent foreclosed arguments the Eighth Amendment and Due Process Clause

of the Fourteenth Amendment mandated jury instructions regarding the effect

of a capital sentencing jury’s failure to reach a unanimous verdict); Alexander,

211 F.3d at 897 n.5 (holding the same). Both the state and the defendant have

legitimate interests in achieving a verdict, and the Constitution does not

guarantee any defendant the right to a deadlocked jury. See Jones, 527 U.S. at

382 (government has strong interest in having jury reach a verdict and put forth

the community conscience on the ultimate question of life or death); Arizona v.

Washington, 434 U.S. 497, 503 (1978) (defendant has a “valued right to have his

trial completed by a particular tribunal”); Illinois v. Somerville, 410 U.S. 458,

463 (1973) (public’s interest in seeing its criminal prosecutions proceed to verdict

“ need not be forsaken by the formulation of rigid rules that necessarily preclude

the vindication of that interest”). As a result, Allen’s claim is entirely without


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merit.

      Finally, despite Allen’s arguments to the contrary, Petition at 49-54, there

is no indication in the record that the jury was ever deadlocked on the special

issues or had trouble returning a verdict. The fact that the jury asked for

clarification of a witness’s testimony, during the normal course of deliberation,

does not necessarily indicate deadlock. Rather, the jurors’ note stated that they

disagreed over “the expense and content of the information provided Bettina

Wright prior to her interviewing [Allen].” See 29 RR 64-71. This note provides

no insight into what stage the jury’s deliberations had reached or whether the

jurors were deadlocked over an issue. Furthermore, the jury’s initial inquiry

regarding the “12-10” Rule prior to deliberation, Petition at 50-53 (citing 28 RR

77), also does not demonstrate the jury was later deadlocked.              Before

deliberations began, a juror indicated confusion “from the instructions [they]

heard originally.” Id. The judge admonished that, “It will all be in the Court’s

charge,” to which the juror replied, “That’s all we need know.” Id. The record

does not indicate further inquiry regarding this instruction. See 29 RR 6. At no

time did the jurors indicate they were having trouble reaching an agreement.

And after the verdict was read, the jurors were individually polled, but no juror

denied the verdict. 29 RR 72-74. No evidence supports a presumption that the

jury was ever deadlocked.


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      This claim is Teague-barred and wholly without merit. As the state court’s

finding was objectively reasonable and in accordance with federal law, it is to be

accorded deference and the claim dismissed.

IV.   Because Veniremember Berg Did Not Sit On Allen’s Jury, And Because
      Allen Failed To Identify Another Objectionable Juror Who Did, No
      Constitutional
      Constitutional Violation Arose From The Trial Court’s Refusal To Excuse
      Berg For Cause. (Issue 4)

      In his fourth claim for relief, Allen argues that the trial court violated his

Sixth and Fourteenth Amendment rights to an impartial jury and due process

by denying his challenge for cause against veniremember Gordon Berg. Petition

at 54. And because the trial court refused to excuse Berg, Allen had to exercise

a peremptory strike against him and was prevented from using a peremptory

strike against another veniremember, Linda Smith Schultz, who actually sat on

his jury. Petition at 66-68. However, Allen failed to preserve error on this claim

in the trial court because he failed to identify Schultz to that court as an

objectionable juror. And because Allen exercised a peremptory challenge against

Berg and he did not sit on this jury, no constitutional error arises from the trial

court’s refusal to dismiss him. Therefore, relief on this claim must be denied.

      After individual voir dire, Allen sought to remove veniremember Berg for

cause, but the trial court denied his request. 5 RR 82-83. Once voir dire was

finished, but prior to the exercise of a single peremptory strike, Allen sought four

additional strikes from the trial court, arguing that he believed four

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veniremembers disqualified themselves from the jury pool with their answers,

and because he would have to exercise peremptory strikes to remove them he

should be allotted four additional strikes to replace those. The court said he

would rule on the request when they got to that point—presumably when Allen

had used all his strikes. 21 RR 3-6. Allen again requested an extra strike after

exercising his first strike against Berg, but his request was denied. 21 RR 27.

Allen moved again for more strikes after exercising one against veniremember

#250, Beverly Girgis. However, at that time he had only used eight strikes and

thus still had seven left; the request was again denied. 21 RR 29. Juror Linda

Smith Schultz was the final juror to be accepted. When her name was called, the

State replied, “The whole thing rests on this decision. State accepts,” to which

Allen replied, “Defense accepts but we don’t have any more strikes.” 21 RR 31-

32. Allen did not renew his request for additional strikes—at this or any time

after Beverly Girgis was struck—nor did he complain about Schultz’s presence

on the jury. 21 RR 32-34. Allen did not object when the jury was seated or

sworn. 21 RR 33-34, 40.

      On direct appeal, the CCA held that Allen failed to properly preserve error

on this claim because he failed to identify, to the trial court, juror Linda Smith

Schultz as objectionable. Allen, 108 S.W.3d at 282-83. Therefore, Allen “waived

his right to complain on appeal that the trial judge erroneously overruled his


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challenge for cause.” Id. at 283. Allen raised the claim again on state habeas

review. 3 SHCR 904-06, #46-50. Noting the CCA’s decision on direct appeal, the

trial court15 concluded that Allen failed to properly preserve this ground for

review and this claim was thus procedurally barred. 3 SHCR 905-06, #49, #;

191-20, #19. Alternatively, the state court concluded that the trial court did not

abuse its discretion in denying Allen’s challenge for cause against veniremember

Berg. 3 SHCR 920, #20. These findings are not unreasonable and are entitled

to deference under AEDPA.

      A trial court’s failure to remove a juror for cause is constitutional error,

requiring reversal of a death sentence, if that juror sat on the jury that

sentenced a defendant to death, and if the defendant properly preserved his

right to challenge the trial court’s failure to remove the juror for cause. Morgan

v. Illinois, 504 U.S.719, 728-29 (1992); Ross v. Oklahoma, 487 U.S. 81, 85 (1988).

In Texas, in order to properly preserve a claim that the trial court’s refusal to

remove a juror for cause deprived a defendant of a fair trial, the defendant must

“(1) assert a clear and specific challenge for cause; (2) use a peremptory strike

on the complained-of veniremember; (3) exhaust his peremptory strikes; (4)

request additional peremptory strikes; (5) identify an objectionable juror; and (6)

claim that he would have struck the objectionable juror with a peremptory strike


      15
            Judge Mark Ellis presided over both trial and state habeas proceedings.

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if he had one to use.” Allen, 108 S.W.3d at 282 (citing Nelson v. State, 848

S.W.2d 126, 134 (Tex.Crim.App.1992)); see also Ross, 487 U.S. at 89. While the

trial court’s refusal to remove the challenged juror could result in constitutional

error, this error “is grounds for reversal only if the defendant exhausts all

peremptory challenges and an incompetent juror is forced upon him.” Ross, 487

U.S. at 89; See also United States v. Webster, 162 F.3d 308, 342 n.36 ( 5th Cir.

1998); Nethery v. Collins, 993 F.2d 1154, 1160 (5th Cir. 1993)(refusing to find

harm from trial court’s refusal to strike veniremembers for cause where

defendant    exercised   peremptory     challenges    to   remove    objectionable

veniremembers but did not exhaust peremptory challenges); Felder v. State, 758

S.W.2d 760, 766-67 (Tex.Crim.App. 1988).

      Allen’s argument incorrectly focuses on the alleged unsuitability of

veniremember Berg and the unreasonableness of the state court’s findings with

respect to him. However, Berg did not sit on Allen’s jury. The Supreme Court

has held that a Sixth Amendment impartial jury violation does not arise from

a trial court’s refusal to remove a biased veniremember for cause where the

defendant exercised a peremptory strike against the challenged veniremember.

Ross, 487 U.S. at 88; Soria v. Johnson, 207 F.3d 232, 241 (5th Cir. 2000). “So

long as the jury that sits is impartial, the fact that the defendant had to use a

peremptory challenge to achieve that result does not mean the Sixth


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Amendment was violated.” Ross, 487 U.S. at 88. Because Berg did not sit on

this jury, the trial court’s refusal to exclude him did not violate Allen’s Sixth

Amendment rights. Soria, 207 F.3d at 241-42. Furthermore, the Supreme Court

has also held that forcing a defendant to exercise a peremptory challenge to

excuse an objectionable juror does not violate his right to due process. Ross, 487

U.S. at 88-89. “Because peremptory challenges are a creature of statute and are

not required by the Constitution . . . it is for the State to determine the number

of peremptory challenges allowed and to define their purpose and the manner

of their exercise.” Ross, 487 U.S. at 89 (internal citations omitted). Therefore,

a defendant’s “right” to peremptory challenges is impaired only if the defendant

does not receive that which state law provides. Id. Allen received his allotted

peremptory challenges and exercised them accordingly. And Berg did not sit on

his jury. Thus no constitutional violation arose from the trial court’s refusal to

dismiss him for cause.

      The focus of Allen’s argument should be on the allegedly improper juror

who actually sat on his jury. However, Allen identified no such juror to the trial

court. While Allen now identifies a juror who he claims improperly sat on his

jury—Linda Smith Schultz, who expressed bias against “black people,” Petition

at 66-68—the state court correctly noted that Allen did not preserve error with

respect to this claim.


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      The CCA concluded that Allen failed to preserve error by failing to meet

two of the six requirements for preservation before the trial court: He failed to

identify an objectionable juror, and he failed to claim that he would have struck

the objectionable juror with a peremptory strike if he had one to use. See Allen,

108 S.W.3d at 282-83. Because he did not identify Schultz as objectionable to

the trial court, Allen “waived his right to complain on appeal that the trial judge

erroneously overruled his challenge for cause.” Id. at 283. The state court’s

findings were reasonable.

      Allen did not identify Schlutz as an objectionable juror to the trial court.

In fact, Allen did not even attempt to strike Schlutz for cause or object to her

inclusion in the jury pool after the completion of her voir dire. See 19 RR 228.

Schultz was the last juror selected after the parties began exercising strikes.

When Schultz’s name was called, the State accepted her and Allen stated,

“Defense accepts but we don’t have any more strikes.” 21 RR 32. Allen did not

request any additional strikes at this time, nor did he state that Schultz was an

objectionable juror. And he did not object to the jury as a whole. 21 RR 33-34.

      While Allen stated he did not have any more strikes, this should not be

considered an assertion that he would have struck her. Indeed, Allen did not

oppose Schultz after individual voir dire and did not ask the court to grant him

more strikes when her name came up—as he had on three prior occasions when


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he still had strikes available to him. See 21 RR 3-6, 27, 29. When Allen initially

requested four additional strikes, prior to any juror being struck, the court said

he would rule on the request when they got to that point—presumably when

Allen had used all his strikes. 21 RR 3-6. However, when Juror Schultz’s name

was called, Allen made no further request for additional strikes. 21 RR 31-32.

Clearly, Allen recognized the magnitude of the decision, but he did not request

any additional strikes16 or complain about Schultz’s presence on the jury. 21 RR

32-34.

      Therefore, as found by both the CCA and the trial court, he failed to

properly preserve his claim for review, and this claim is thus procedurally barred

from federal habeas review as a consequence of Allen’s failure to comply with

state procedural rules for preserving error. See Riles v. McCotter, 799 F.2d 947,

950 n.4 (5th Cir. 1986); see also Tex. R. App. P. 33.1; see also Granviel v. State,

552 S.W.2d 107, 118 (Tex. Crim. App. 1976) (preservation of error for review on

appeal requires a defendant to object in a timely and specific manner). This

“contemporaneous objection rule” is strictly and regularly applied to similar

claims in Texas and is therefore an adequate and independent state ground

sufficient to bar review in federal court. See Rowell v. Dretke, 398 F.3d 370, 375-


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            Thus, although he previously requested additional strikes, it could also
be argued that he did not meet requirement number four: Request additional
peremptory strikes. He did not ask for the strikes in a timely manner.

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75 (5th Cir. 2005) (holding defendant’s failure to timely object to alleged errors

in jury charge determined by Texas appellate court to be violation of

contemporaneous objection rule barred federal habeas relief of alleged erroneous

jury charge under procedural default doctrine); Graves v. Cockrell, 351 F.3d 143,

152 (5th Cir. 2003) (Fifth Circuit holds Texas contemporaneous objection rule

constitutes adequate and independent state ground, and failure to comply

procedurally bars federal habeas review).

      For the reasons discussed, the state court’s procedural ruling is supported

by the record. Therefore, Allen failed to meet the State’s requirements for

preserving error on this claim, and he cannot now complain of constitutional

error from the seating of this juror. Federal habeas corpus review is thus

foreclosed unless Allen demonstrates either cause for the default and actual

prejudice resulting therefrom or that failure to consider the claim would result

in a “fundamental miscarriage of justice.” Coleman, 501 U.S. at 749-50; Jones

v. Johnson, 171 F.3d 270, 277 (5th Cir. 1999) (citing Keeney v. Tamayo-Reyes,

504 U.S. 1 (1992)). Allen makes no such showing. Because no exception applies,

this claim should be dismissed as procedurally barred.

      Regardless, the presence of Juror Schultz did not violate Allen’s right to

an impartial jury, and the trial court’s refusal to excuse veniremember Berg was

not erroneous. Allen fails to demonstrate a violation of his constitutional rights


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from the trial court’s determinations on either juror. Therefore, apart from his

failure to preserve the claim, relief on the merits of this claim must denied.

      Regarding juror Schultz, Allen argues that the trial court’s refusal to

accept his challenge for cause forced him to exercise a peremptory strike leaving

him unable to later strike juror Schultz who was biased against “black people.”

Petition at 67-68; 19 RR 211-12.17 Allen also argues that Schultz is “strongly in

favor of the death penalty,” citing to her response that, on a scale of one to ten,

with ten being the person who would give the death penalty in every

circumstance, Schlutz said she would fall “between about a five and a seven.”

Petition at 67; 19 RR 217.

      The Sixth and Fourteenth Amendments guarantee Allen an impartial jury.

Ross, 487 U.S. at 85. “‘[T]he Constitution presupposes that a jury selected from

a fair cross section of the community is impartial, regardless of the mix of

individual viewpoints actually represented on the jury, so long as the jurors can

conscientiously and properly carry out their sworn duty to apply the law to the

facts of the particular case.’” Id. at 86 (citing Lockhart v. McCree, 476 U.S. 162,

184 (1986)).   The record indicates—despite Schultz’s opinion, based upon

observations from the news, that African-Americans commit more violent crimes

than other racial groups—that she was able to carry out her sworn duty to apply


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            Allen is African-American.

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the law to the facts of this case.

      The juror questionnaire asked, “Do you feel that one group of people is

more dangerous than other groups, i.e., age group, ethnic group, racial group,

sexual orientation groups, or other specific groups?” 19 RR 211. According to

the voir dire transcript, Schlutz answered “yes” and wrote in “racial,” and, upon

examination, specified, “Blacks.” Id. When to explain why she thought “Blacks”

were more dangerous than others and how she reached that conclusion, Schultz

explained, “Probably from the news. It seems like to me that the group of people

that seem to commit the most violent crimes from my point of view and what I

hear are blacks.” 19 RR 211-12. Schultz was asked no further questions on this

subject. Schultz also indicated that she could wait until she had heard all the

fact before deciding what punishment would be appropriate and that she could

consider all available ranges of punishment. 19 RR 189-94. She stated that her

“mind [was] open” to hearing all evidence on the future dangerousness special

issue, that she could listen to the evidence, weigh it in her mind, and hold the

State to its burden of proof, beyond a reasonable doubt. 19 RR 200-02. Schultz

also stated that she was open to re-examining all the evidence to determine

whether there was any mitigating circumstance that would result in a life

sentence. 19 RR 204, 223-24. Finally, Schultz stated that the facts of this

crime—the murder of a child under the age of six—would not prevent her from


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being able to take her oath as a juror to render a true verdict based upon the law

and evidence. 19 RR 208. The fact that Allen did not oppose her inclusion in the

jury pool following voir dire or state at any time (before now) that she was an

objectionable juror supports a conclusion that she was a suitable juror for his

panel.

      And Schultz’s response that she falls between five and seven on a scale of

one to ten does not indicate that she is “strongly in favor of the death penalty.”

On a scale with one being the lowest and ten being the highest, a five would put

her squarely in the middle or neutral range. A range of five to seven would

indicate moderate support.      Her answers during voir dire support this

proposition: When asked her opinion of the death penalty, Schultz indicated she

“believe[d] in the death penalty.” 19 RR 187. When asked what kind of cases

she thought the death penalty should be available for, she identified serial

murders, “school murders,” and “where somebody has killed someone else in a

horrible type way.” 19 RR 188. She in no way suggested she was “strongly in

favor” of it or that she thought it was always appropriate. Neither Schultz’s

belief that the death penalty is appropriate for the killing of someone “in a

horrible type way,” nor her neutral to moderate support for the death penalty

indicates that her views on capital punishment “would prevent or substantially

impair the performance of [her] duties as a juror in accordance with [her]


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instructions and [her] oath.” Adams v. Texas, 448 U.S. 38, 45 (1980); see also

Wainwright v. Witt, 469 U.S. 412, 424 (1985). Allen fails to demonstrate that

Schultz’s inclusion on the jury violated his right to a fair and impartial jury.

      Regarding Berg, Allen argues that Berg strongly favored the death penalty

and stated that there were certain cases in which he did not think there were

any possible mitigating circumstances that would prohibit the use of the death

penalty. Notably, Berg expressed reluctance to find mitigating circumstances

in the murder of a child under the age of six. Petition at 54-60; 5 RR 43-44, 49,

67-72, 80-81. Allen interpreted Berg’s answer to indicate that he would always

vote in a manner requiring death in the event the defendant was found guilty of

murdering a child, unless the killing was a mercy killing. Petition at 60.

      However, a state trial court’s refusal of a petitioner’s challenge for cause

is a factual finding entitled to a presumption of correctness. Miniel v. Cockrell,

339 F.3d 331, 338-39 (5th Cir. 2003); Soria, 207 F.3d at 242. Allen must rebut

this finding with clear and convincing evidence. See Soria, 207 F.3d at 242. At

the time the challenge was made, the trial court did not articulate its reasons for

rejecting Allen’s challenge for cause against Berg. However, the same judge

presided over the state habeas proceeding and held that, while Berg initially

stated there were no mitigating circumstances prohibiting the use of the death

penalty and that he would have trouble considering mitigating evidence for the


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capital murder of a child under the age of six, Berg retreated from that position

when the prosecutor explained the nature of mitigating evidence and a juror’s

duty to consider it. 3 SHCR 904-05, #47. In response to additional questioning,

Berg stated that he was open to listening to and considering mitigating evidence,

that he would give fair consideration to mitigating evidence, that he was

unbiased and committed to listening to the evidence, and that he had no bias

against the mitigation special issue. Id.; 5 RR 43-44, 50, 57-58, 62, 65-72, 80-81.

The trial court thus found that, “although venireperson Berg stated he would not

likely grant a great deal of weight to certain types of mitigation evidence, Berg

stated that he would be able to consider evidence offered in mitigation of

punishment.” 3 SHCR 905, #48; 5 RR 67-72, 80-81. Finally, the court found that

Allen failed to demonstrate that Berg’s views concerning mitigating evidence

would prevent or substantially impair the performance of his duties in

accordance with his instructions and his oath. 3 SHCR 906, #50.

      A prospective juror may not be challenged for cause because of his or her

views on capital punishment “unless those views would prevent or substantially

impair the performance of his duties as a juror in accordance with his

instructions and his oath.” Adams, 448 U.S. at 45; Witt, 469 U.S. at 424. Allen

complains that the state court unreasonably applied this standard to his case.

Petition at 63-66.    While a capital defendant may challenge for cause a


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prospective juror who would automatically vote for the death penalty in every

case and would fail to consider in good faith the aggravating and mitigating

evidence as required by his instructions, see Morgan v. Illinois, 504 U.S. 719,

729 (1992); see also Buchanan v. Angelone, 522 U.S. 269, 276 (1998) (“the

sentencer may not be precluded from considering, and may not refuse to

consider, any constitutionally relevant mitigating evidence”), a juror is not

required to consider any particular circumstance as mitigating. Nor must a

court necessarily excuse a prospective capital juror for cause who might view

evidence offered in mitigation as aggravating. See Soria, 207 F.3d at 244.

      The trial court is assigned the difficult task of distinguishing between

prospective jurors whose opinions on capital punishment will not allow them to

apply the law or view the facts impartially, and those jurors who, despite their

opinions, will nevertheless conscientiously apply the law to the facts adduced at

trial. Witt, 469 U.S. at 421. The trial court’s finding regarding a prospective

juror’s bias “involves credibility findings whose basis cannot be easily discerned

from an appellate record.” Id. at 429. As the Supreme Court has recognized:

“[T]he manner of the juror while testifying is oftentimes more indicative of the

real character of his opinion than his words. That is seen [by the trial court]

below, but cannot always be spread upon the record.” Id. at 428 n.9 (citation

omitted). Accordingly, in cases of juror bias, a trial judge must make a factual


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determination regarding not only whether the prospective juror claimed that she

could be impartial, but also, whether she should be believed. Id. at 423-24

(citing Patton v. Yount, 467 U.S. 1025, 1036 (1984)). In these situations,

“deference must be paid to the trial judge who sees and hears the juror.” Witt,

469 U.S. at 426; Yount, 467 U.S. at 1040.

      Since it is the trial judge “who is best situated to determine competency

to serve impartially,” Yount, 467 U.S. at 1039, the reviewing court should

determine, not whether it disagrees with the trial court’s findings, “but whether

those findings are fairly supported by the record.” Witt, 469 U.S. at 434;

Marshall v. Lonberger, 459 U.S. 422, 432 (1983). The trial court’s findings are

so supported. Without question, Berg expressed concerns about the level of

mitigating evidence he would deem worthy of a life sentence for someone who

committed the murder of a child under six. 5 RR 50, 60-62, 67-72, 80-81.

However, Berg stated he would be open minded, would listen to the evidence

before rendering a decision, and that he could take an oath to render a true

verdict based upon the law and the evidence. 5 RR 56, 59, 60-62, 65-66, 71-72,

80-81. The fact that Berg had “reservations” did not exclude him. The Supreme

Court has held that a party cannot “exclude jurors whose only fault was to take

their responsibilities with special seriousness or to acknowledge honestly that

they might or might not be affected [by their views on capital punishment].”


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Adams, 448 U.S. at 50-51. “[N]either nervousness, emotional involvement, nor

inability to deny or confirm any effect whatsoever is equivalent to an

unwillingness or an inability on the part of the jurors to follow the court's

instructions and obey their oaths, regardless of their feelings about the death

penalty.” Adams, 448 U.S. at 50.

       While Berg did not sit on this jury and impose judgment on Allen, a

presumption of correctness is owed to the trial court’s findings that he should not

have been excluded for cause. Yount, 467 U.S. at 1040; Soria, 207 F.3d at 242.

No constitutional error arose from the trial court’s determinations, and relief on

this claim must be denied.

V.     Allen’s Claim Of Ineffective Assistance Of Trial Counsel Is Unexhausted.
       He Cannot Demonstrate Cause To Overcome The Procedural Default Of
       This Claim. Regardless, The Claim Lacks Merit. (Issue 5)

       Allen argues that trial counsel were ineffective for failing to subpoena

witnesses to provide mitigation testimony. Petition at 69-77. According to Allen,

witnesses were available who could have testified to the physical and sexual

abuse Allen suffered as a child. Petition at 74. Trial counsel had intended to

call these witnesses but, as the time for trial neared, the witnesses refused to

come to Houston and testify on Allen’s behalf. Petition at 75. Allen argues that

trial counsel were thus ineffective for failing to subpoena these witnesses and

force them to attend trial. Petition at 75.


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      Allen admits that this claim is unexhausted. He asks this Court to allow

him to stay and abate federal habeas proceedings, pursuant to Rhines v. Webber,

544 U.S. 269, 273 (2005), and allow him to return to state court to exhaust this

claim. Pursuant to Rhines, this Court may stay and abate a federal habeas

proceeding upon a showing 1) of good cause for his failure to exhaust his claims

in the state court, 2) that the unexhausted claims are potentially meritorious,

and 3) that there is no indication that the petitioner has engaged in potentially

dilatory tactics.   544 U.S. at 278.   The Supreme Court notes that a stay

“frustrates AEDPA’s objective of encouraging finality by allowing a petitioner to

delay the resolution of the federal proceedings,” while also “undermin[ing]

AEDPA’s goal of streamlining federal habeas proceedings[.]” Rhines, 544 U.S.

at 277. Therefore, stay and abeyance should be available in only the above-cited

limited circumstances. Id. As support for a stay, Allen asserts the deficient

performance of state habeas counsel as cause for his failure to exhaust this claim

on state habeas review. See Petition at 69-71. While acknowledging that,

historically, the negligence of state habeas counsel is not cause to excuse

procedural default, Allen argues that a recent Supreme Court decision, Maples

v. Thomas, 132 S. Ct. 912 (2012), has changed this previously established

precedent. Petition at 71.

      Allen is incorrect. As will be discussed below, neither Maples nor the


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subsequent Supreme Court decision, Martinez v. Ryan 132 S. Ct. 1309 (2012),

applies to Allen’s case. Under the law as it now stands, the ineffectiveness of

state habeas counsel does not demonstrate good cause for Allen’s failure to

exhaust his claim in state court. See Coleman v. Thompson, 501 U.S. 722, 752

(1991) (citing Murray v. Giarratano, 492 U.S. 1 (1989), Pennsylvania v. Finley,

481 U.S. 551 (1987), and Wainwright v. Torno, 455 U.S. 586 (1982)) (“There is

no constitutional right to an attorney in state postconviction proceedings. . . .

Consequently, a petitioner cannot claim constitutionally ineffective assistance

of counsel in such proceedings.”); Martinez v. Johnson, 255 F.3d 229, 241 (5th

Cir.2001) (stating that “that ineffective assistance of habeas counsel cannot

provide cause for a procedural default”). Therefore, Allen cannot demonstrate

cause to excuse the procedural default of this claim. He also cannot present a

meritorious claim for relief. Therefore, this Court should decline to stay federal

habeas proceedings and should dismiss his claim as unexhausted and

procedurally barred.

      A.    Maples does not provide Allen cause to excuse the procedural
            default of his claim.

      Allen claims that state habeas counsel’s failure to properly investigate his

state writ of habeas corpus was “so serious that counsel was not functioning” as

counsel, and he thus “effectively abandoned” Allen on the state habeas level.

Petition at 71. Relying on Maples, Allen argues that he may now assert the

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ineffectiveness of state habeas counsel as cause to excuse the procedural default

of his Strickland claim. Petition at 71-74. Allen is mistaken.

      In Maples, the Supreme Court considered “whether, on the extraordinary

facts of Maples’ case, there is ‘cause’ to excuse the default” of his state court

petition, for his failure to timely appeal the trial court’s order denying him

postconviction relief. 132 S. Ct. at 917, 922. Those “extraordinary facts” are as

follows. Maples was represented on postconviction state habeas review by two

pro bono attorneys associated with a large New York-based law firm, who filed

a petition for relief on Maples’s behalf alleging several instances of ineffective

assistance of trial counsel. Id. at 916, 918-19. While his petition was pending,

both attorneys left the law firm for other employment and were disabled from

continuing their representation of Maples. Id. at 916, 919. However, neither

attorney informed Maples of his departure, nor did the attorneys seek leave to

withdraw from the Alabama trial court as required by Alabama law, and no one

moved for substitution of counsel on Maples’s behalf. Id. at 916-17, 919. The

Alabama trial court subsequently denied Maples’s petition, sending notice to

former counsel at the New York-based law firm; the notices were returned to the

clerk unopened. Id. at 917, 919-20. The court clerk did not attempt to contact

any attorney by other means and took no further action.              Id. at 920.

Consequently, no one filed an appeal on Maples’s behalf and time ran out. Id.


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at 917, 920. A month later, an Alabama Assistant Attorney General notified

Maples of his missed state-court deadline and that he had four weeks to file his

federal petition. Id. at 920. Maples’s mother contacted the New York law firm

who submitted a motion asking the state court to restart the appellate period;

the motion was denied. Id. at 920-21. When Maples petitioned the federal

district court for habeas relief, both the district court and the Eleventh Circuit

rejected his petition on grounds that he had procedurally defaulted his appeal

in the state court and had failed to demonstrate cause to excuse that default. Id.

at 917, 921. It was uncontested that Maples was blameless in the default. Id.

at 917.

      The Supreme Court held that Maples was abandoned by counsel and left

unrepresented at a critical time for his state postconviction petition and lacked

any clue of the need to protect himself pro se.          Id. at 917.    In these

circumstances, the Court concluded that “cause” has been shown to avoid the

procedural default. Id. While negligence on the part of postconviction counsel

normally does not qualify as “cause” to excuse the procedural default in federal

court, see Coleman, 501 U.S. at 753, “[a] markedly different situation is

presented . . . when an attorney abandons his client without notice, and thereby

occasions the default.” Maples, 132 S. Ct. at 922. “Having severed the principal-

agent relationship, an attorney no longer acts, or fails to act, as the client’s


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representative. . . . [Thus] [h]is acts or omissions . . . ‘cannot fairly be attributed

to [the client].’” Id. at 922-23 (citing 1 Restatement (Third) of Law Governing

Lawyers § 31, Comment f (1998), and Coleman, 501 U.S. at 753). Relying on

Holland v. Florida, 130 S. Ct. 2549 (2010), for support, the Supreme Court held

that, “under agency principles, a client cannot be charged with the acts or

omissions of an attorney who has abandoned him. Nor can a client be faulted for

failing to act on his own behalf when he lacks reason to believe his attorneys of

record . . . are not representing him.” Maples, 132 S. Ct. at 923-24. Because he

was abandoned by counsel and lacked assistance at the time his appeal should

have been filed and because he had no reason to suspect that he had been

reduced to pro se status, “Maples was disarmed by the extraordinary

circumstances quite beyond his control.” Id. at 927. Thus he has shown “ample

cause” to excuse the procedural default of his state proceedings. Id. at 927.

      The Supreme Court repeatedly confined its decision to the limited question

before that Court: whether, on the facts presented, Maples had shown cause to

excuse the missed notice of appeal deadline. See id. at 917 (Court considered

“whether, on the extraordinary facts of Maples’ case, there is ‘cause’ to excuse

the default” of his state court petition”); 922 (certiorari granted to decide

whether “uncommon facts presented here establish cause”); 927 (“In the unusual

circumstances of this case . . . .”). The Court specifically noted that the Maples


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decision did not disturb the general rule of Coleman—that negligence on the part

of a petitioner’s postconviction counsel does not qualify as “cause” to excuse the

procedural default of a claim and that a petitioner is bound by the acts of his

attorney and cannot rely on the acts of postconviction counsel to establish cause.

Id. at 922 (citing Coleman, 501 U.S. at 753-54).

      The circumstances at issue in Maples do not exist in Allen’s case. First,

Allen was not abandoned by counsel, nor was he left unrepresented at a critical

time for his state postconviction petition. Maples, 132 S. Ct. at 917. State

habeas counsel filed a state habeas application raising thirty-seven claims for

relief, including claims of ineffective assistance of trial and appellate counsel.

See 1 SCHR 2-488, State Application for Post-Conviction Writ of Habeas Corpus,

Claims 1, 2, 4, 5, 6, 8, 10, 12, 14, 16, 34, 35, 36; Ex parte Allen, No. 73-586-01,

2010 WL 1709947 (Tex. Crim. App. April 28, 2010). Although Allen’s state

habeas counsel did not present the now-proposed Strickland claim, Allen was not

“abandoned” by counsel. Rather, counsel may have had good reason for not

advancing the claim—for example, it may have been meritless. This is the very

difference between a Strickland claim and a claim under United States v. Cronic,

66 U.S. 648 (1984)—i.e., error by omission as opposed to a total denial of counsel.

See, e.g., Penson v. Ohio, 488 U.S. 75, 88 (1988) (failure of counsel to press

particular argument or argue it effectively is different from denial of counsel


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altogether). Appellate counsel’s effectiveness is measured by the same standard

applied to trial counsel: whether the performance was objectively reasonable

and whether any deficient performance prejudiced the proceeding. Appellate

counsel is not ineffective for failing to raise every possible point on appeal.

Smith v. Robbins, 528 U.S. 259, 288 (2000). Rather, appellate counsel is obliged

to raise and brief only those issues that he believes have the best chance of

success.   Id. at 285; see Engle v. Isaac, 456 U.S. 107, 134 (1982) (“[T]he

Constitution guarantees criminal defendants only a fair trial and a competent

attorney. It does not insure that defense counsel will recognize and raise every

conceivable constitutional claim.”). Furthermore, prejudice cannot be shown in

the absence of a reasonable probability that, but for counsel’s omitting a

particular ground of error, the case would have been reversed on appeal. Smith,

528 U.S. at 285.

      In this case, state habeas counsel did not fail to file or otherwise abandon

his client. Instead, state habeas counsel simply did not develop the claim Allen

now contends (in hindsight) should have been developed. But see Strickland,

466 U.S. at 689 (“Even the best criminal defense attorneys would not defend a

particular client in the same way.”).        Appellate counsel is not necessarily

ineffective for failing to raise every possible point on appeal. Smith, 528 U.S. at

288. Unlike Maples, Allen was represented by counsel and received state habeas


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review of thirty-seven claims. Thus, there was no default of Allen’s state

postconviction proceeding. Further, as will be discussed in Section V(C)(1),

infra, Allen cannot demonstrate a meritorious claim. Therefore, he was not

prejudiced by any alleged deficiency of state habeas counsel.

      Despite the fact that Allen received state habeas review of his case, Allen

nevertheless argues that he was “effectively abandoned” by counsel because

state habeas counsel did not personally meet with his client, review documents

in possession of the trial attorneys, or meet with the trial investigator; he did not

investigate claims outside the record; and he repeated in the state writ fourteen

claims previously raised on direct appeal. Petition at 72-73.18 However, Allen

cannot demonstrate complete abandonment by counsel as occurred in Maples.

As the Fifth Circuit has found in a similar case, this distinction is fatal to Allen’s

reliance on Maples. See Gates v. Thaler, No. 11-70023, 2012 WL 2305855, at *6

(5th Cir. June 19, 2012) (rejecting argument that after Maples and Martinez

ineffectiveness of state habeas lawyer should excuse procedural default and

distinguishing Maples on ground that Gates did not argue he was abandoned,

only that state habeas counsel was ineffective) (unpublished). And the Fifth

Circuit has rejected a similar allegation against state habeas counsel as

insufficient cause to excuse the procedural default of state habeas claims, prior


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             The Director does not concede the truth of the allegations.

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to Maples. See Martinez, 255 F.3d at 240-41 (petitioner accused state habeas

counsel of deficient performance for defaulting claims without ever

communicating with his client, researching the law, investigating, or developing

extra-record argument).

      Furthermore, because Allen was repeatedly in contact with the state

habeas court and his counsel, complaining that the petition filed by state habeas

counsel did not contain certain issues he wished to have filed,19 2 SHCR 569-70;

asking for a writ of mandamus from the trial court for its failure to timely file

findings of fact and conclusions of law in this case, 2 SHCR 572-73; filing a

petition for recusal of the trial court judge, on which a hearing was held with

Allen in attendance, 2 SHCR 578-613; sending a letter to counsel regarding his

desire to oppose the trial court’s findings of fact and conclusions of law, 3 SHCR

849; sending a letter to the trial court asking to drop his appeal and set a date

for execution, 3 SHCR 851; and sending a letter to the trial court notifying it

that his newly appointed counsel has not been in contact with him yet,20 3 SHR


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              These issues involved crime scene photographs, the fact that he was tried
for sexual assault even thought his indictment did not allege such, the fact that he was
tried by an all-white jury, photographic evidence of his hands was taken but not
presented at trial, and the police collected fingernail scrapings from him but such
evidence was not presented at trial. He did not mention the now-proposed claim. State
habeas counsel sent Allen a letter explaining his reasons for not addressing some of
these allegations in the state writ. See 2 SHCR 592-993
      20
             It became necessary for state habeas counsel to withdraw from the case
after he accepted a position with the Harris County District Attorney’s Office. See 3

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890, Allen cannot argue that he lacked any clue of the need to protect himself

pro se. See Maples, 132 S. Ct. at 917. For this reason, his case is not on par with

Maples.

      And finally, unlike Maples, the State did not contribute to the default of

Allen’s claim. 132 S. Ct. at 919-20. Allen makes no such allegation. Thus, Allen

cannot blame the court because he did not receive the postconviction review he

hoped for.

      The issue before the Supreme Court in Maples is very narrowly construed:

Where the petitioner was abandoned by counsel and left unrepresented at a

critical time for his state postconviction petition, and where the petitioner also

lacked knowledge of the need to protect himself pro se, the deficient

representation of state postconviction counsel may amount to cause to excuse the

procedural default of state habeas proceedings. Maples, 132 S. Ct. at 917. Allen

does not meet these contingencies. Therefore, the Supreme Court’s decision in

Maples does not afford relief to Allen.




SHCR 852-53. New counsel was appointed for Allen, and a district attorney pro tem
was appointed for the State. 3 SHCR 854, 891. This event occurred after briefing had
concluded and findings of fact had been submitted by the parties. The State’s proposed
findings were rescinded and resubmitted by the district attorney pro tem. 3 SHCR
887, 892-927.

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      B.    Martinez does not apply to Texas or to Allen’s claim.

      Although Allen does not cite to Martinez, this recent Supreme Court

case—which was decided after he filed his amended petition—reaffirms that the

ineffectiveness of state habeas counsel may not serve as cause to excuse the

procedural default of a federal habeas claim.

      First, as the Fifth Circuit has recently concluded, Martinez does not apply

to Texas. See Ibarra v. Thaler, No. 11-70031, 2012 WL 2620520, at *4 (5th Cir.

June 28, 2012) (Petitioner not entitled to benefit of Martinez); see also Ayestas

v. Thaler, No. 11-70004, 2012 WL 2849487, at *1 (5th Cir. July 11, 2012) (citing

Ibarra, Court denied motion to vacate and remand in light of Martinez); Gates,

2012 WL 2305855, at *6 (because a Texas capital defendant can raise an

ineffective assistance of trial counsel claim on direct review, Martinez does not

alter cause and prejudice analysis). In Martinez, the Supreme Court found—for

the first time—an exception to the unqualified statement previously asserted in

Coleman that an error by an attorney in a postconviction proceeding does not

qualify as cause to excuse a procedural default. 132 S. Ct. at 1315 (citing

Coleman, 501 U.S. at 753-54). While repeatedly stating that its holding is

limited and that “the rule of Coleman governs in all but the limited

circumstances recognized here,” the Court qualified Coleman by recognizing a

narrow exception to the rule barring attorney negligence as “cause.” Id. at 1320;


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see also Ibarra, 2012 WL 2620520, at *2 (Martinez, by its own terms, establishes

specific and narrow exception to the Coleman doctrine). Specifically, the Court

found that “[w]here, under State law, claims of ineffective assistance of trial

counsel must be raised in an initial-review collateral proceeding, a procedural

default will not bar a federal habeas court from hearing a substantial claim of

ineffective assistance at trial if, in the initial-review collateral proceeding, there

was no counsel or counsel in that proceeding was ineffective.” Id. Thus, when

a State requires a petitioner to raise an ineffective-assistance-of-trial-counsel

claim in an initial-review collateral proceeding,21 the petitioner may establish

cause to excuse a default of that claim if either (1) no counsel was appointed; or

(2) counsel in that proceeding was ineffective under the standards of Strickland.

Id. at 1318, 1320; Ibarra, 2012 WL 2620520, at *2.

      But the Martinez court carefully limited its ruling only to cases where the

initial collateral proceeding is the only forum where ineffective-assistance-of-

trial-counsel claims may be raised. Id. at 1318-20. However, in Texas, the

limited exception to Coleman carved out by the Supreme Court does not apply

because the State does not require a defendant to raise an ineffective assistance

of trial counsel claim in an initial-review collateral proceeding. See Lopez v.


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             The Court defined “initial-review collateral proceedings” as “collateral
proceedings which provide the first occasion to raise a claim of ineffective assistance
at trial.” Martinez, 132 S. Ct. at 1315.

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Texas, 343 S.W.3d 137, 143 (Tex. Crim. App. 2011) (holding that a claim of

ineffective assistance of counsel may be considered on direct appeal). The

Martinez court repeatedly noted that the exception it created was limited to

jurisdictions (such as Arizona) that deliberately choose to bar a defendant from

raising Strickland claims on direct appeal. 132 S. Ct. at 1318 (“By deliberately

choosing to move trial-ineffectiveness claims outside the direct appeal process,

where counsel is constitutionally guaranteed, the State significantly diminishes

prisoners’ ability to file such claims.”), 1320 (“Our holding here addresses only

the constitutional claims presented in this case, where the State barred the

defendant from raising the claims on direct appeal.”), 1320 (“Where, under state

law, claims of ineffective assistance of trial counsel must be raised in an initial-

review collateral proceeding. . .”) (italics added).

      However, in Texas, this limited exception to Coleman does not apply

because the State allows a defendant to first raise an ineffective assistance of

trial counsel claim in a motion for new trial or on direct appeal. See Tex. R. App.

Proc. 21.3, 21.4; Reyes v. State, 849 S.W.2d 812, 815 (Tex. Crim. App.

1993)(holding ineffective assistance of counsel may be raised in a motion for new

trial); Lopez, 343 S.W.3d at 143 (holding that a claim of ineffective assistance of

counsel may be considered on direct appeal); see also Ibarra, 2012 WL 2620520,

at *4 (acknowledging that Texas defendants may raise ineffective assistance of


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counsel claims in a motion for new trial or on direct appeal). Defendants may

use the motion for new trial to develop non-record facts to support a claim on

direct appeal. Tex. R. App. Proc. 21.2. Moreover, a trial court is authorized to

hold a live hearing on the issue and abuses its discretion for failing to do so if a

defendant presents a motion that raises matters that may not be determined

from the record. Tex. R. App. Proc. 21.7; Holden v. State, 201 S.W.3d 761 (Tex.

Crim. App. 2006). Because Texas defendants such as Allen have two outlets in

state court to develop and raise Strickland claims, the narrow exception created

in Martinez is clearly inapplicable.

      The Fifth Circuit has recently agreed, concluding that, since Texas, unlike

Arizona, has not deliberately opted to bar defendants from raising Strickland

claims on direct appeal, Martinez is not applicable and Coleman still applies.

See Ibarra, 2012 WL 2620520, *4 (Petitioner not entitled to benefit of Martinez

because “Texas procedures do not mandate that ineffectiveness claims be heard

in the first instance in habeas proceedings, and they do not by law deprive Texas

defendants of counsel- and court-driven guidance in pursuing ineffectiveness

claims.”); Gates, 2012 WL 2305855, *6 (because a Texas capital defendant can

raise an ineffective assistance of trial counsel claim on direct review, Martinez

does not alter cause and prejudice analysis); see also Adams v. Thaler, 679 F.3d

312, 317 n.4 (5th Cir. 2012) (While not addressing the impact of Martinez on


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Texas, the Fifth Circuit noted that “Texas does not require a defendant to raise

an ineffective assistance of trial counsel claim only in state habeas proceedings,

. . . and that ineffective assistance claims (particularly those, like Adams’s claim,

involving trial counsel’s failure to object to jury instructions) are often brought

on direct appeal, with mixed success.”) (citing Lopez, 343 S.W.3d at 143).

      Because Martinez “does not extend to attorney errors in any proceeding

beyond the first occasion the State allows a prisoner to raise a claim of

ineffective assistance at trial,” 132 S. Ct. at 1320, it does not apply to Texas and

does not provide Allen with cause to excuse the default of his claim.

      C.     Allen cannot demonstrate cause and pre
                                                prejudice to avoid the
             procedural default his claim.

      Apart from the fact that neither Maples nor Martinez provides Allen with

an avenue to allege “cause” to excuse the procedural default of his claim, to

overcome any procedural default, Allen must establish not only “cause”—the

deficient performance of state habeas counsel—but also “prejudice” by

demonstrating the merits of his underlying claims. See Martinez, 132 S. Ct. at

1318-19. The Martinez Court specifically noted that “[t]o overcome the default,

a prisoner must also demonstrate that the underlying ineffective-assistance-of-

trial-counsel claim is a substantial one, which is to say that the prisoner must

demonstrate that the claim has some merit.” Id. (citing Miller-El v. Cockrell,

537 U.S. 322 (2003)). This Allen cannot do.

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            1.    Allen fails to prove prejudice because he cannot demonstrate
                  a potentially meritorious claim for relief.

      Allen cannot demonstrate “prejudice” to overcome default because he fails

to demonstrate a potentially meritorious claim for relief. Allen’s failure to

demonstrate a “substantial claim” for relief forecloses his attempt to excuse the

procedural default of his Strickland claim by state habeas counsel because he

fails to prove “prejudice.” See Martinez, 132 S. Ct. at 1318-19.

      To demonstrate deficient performance, as required under Strickland, the

petitioner must show that counsel’s conduct fell beyond the bounds of prevailing,

objective professional standards. Strickland, 466 U.S. at 688. However, there

is a presumption that counsel rendered adequate assistance and made all

significant decisions in the exercise of reasonable professional judgment. Id. at

690. “[T]he standard for judging counsel’s representation is a most deferential

one.” Richter, 131 S. Ct. at 788. “It is ‘all too tempting’ to ‘second-guess

counsel’s assistance after conviction or adverse sentence.’” Id. at 788 (citing

Strickland, 466 U.S. at 689). The question for the reviewing court to ask is

whether counsel’s performance “amounted to incompetence under ‘prevailing

professional norms,’ not whether it deviated from best practices or most common

custom.” Id. (citing Strickland, 466 U.S. at 690). The standard for review under

Strickland and AEDPA is “doubly” deferential. Id. “The question is whether

there is any reasonable argument that counsel satisfied Strickland’s deferential

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standard.” Id.

      Additionally, Allen must affirmatively prove prejudice by demonstrating

“a reasonable probability that, but for counsel’s unprofessional errors, the result

of the proceeding would have been different.” Williams v. Taylor, 529 U.S. 362,

391 (2000) (citing Strickland, 466 U.S. at 694). Regarding counsel’s failure to

investigate and present mitigating evidence at the punishment phase of trial,

the reviewing court must “reweigh the evidence in aggravation against the

totality of available mitigating evidence[,]” including that adduced at trial, as

well as the habeas proceeding. Wiggins v. Smith, 539 U.S. 510, 534 (2003). The

“likelihood of a different result must be substantial, not just conceivable.”

Richter, 131 S. Ct. at 792. Allen fails to meet either prong of the Strickland

standard.

      The affidavit of Gerald Bierbaum indicates that trial counsel hired both

Bierbaum and Lisa Milstein to investigate this case. Petitioner’s Exhibit B, #2.

These investigators uncovered evidence that Allen suffered from physical and

sexual abuse and neglect as a child. Id. at #4-5. The investigators interviewed

Allen’s “family, friends, and ex paramours,” from St. Louis, as well as local

witnesses, and learned that some of these witnesses could support the

allegations of abuse. Id. at #6-7. Trial counsel also hired expert licensed master

social worker Bettina Wright to discuss the impact of this mitigating evidence


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on Allen’s development. Id. at #8. However, as trial approached, some of the

witnesses refused to travel to Houston to testify on Allen’s behalf “after learning

about the mitigating evidence to be presented.” Id. at #9. Bierbaum stated that

he did not believe there was enough to time to pursue out of state subpoenas

when they found out the witnesses would not willingly appear. Id. The defense

nevertheless pursued this mitigation strategy without these witnesses through

the testimony of Bettina Wright, who testified that, based upon her interviews

with Allen and her review of the mitigation team records, which included

interviews with Allen’s family members, she had concluded that Allen was the

survivor of chronic sexual abuse, starting during early childhood and continuing

into adulthood. 28 RR 3-7, 18-19. Trial counsel confirmed evidence of this abuse

through cross-examination of Allen’s ex-wife, Sonji Allen, who testified that

Allen once told her that he had been abused as a child. 26 RR 150.           Allen

nevertheless alleges that trial counsel were ineffective for failing to subpoena the

other witnesses in a timely manner. Had they been properly subpoenaed, Allen

suggests the witnesses would have supported his claims of abuse as a child.

Allen alleges that, if he could have corroborated his claims of childhood abuse,

there is a great probability that the result of the proceeding would have been

different. Petition at 75-77.

      As an initial matter, Allen does not even identify by name these witnesses


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whom Bierbaum and Milstein allegedly discovered prior to trial, nor does he

provide affidavits attesting to what they would have said.          As it stands,

Bierbaum’s affidavit is hearsay.      Furthermore, even if trial counsel had

subpoenaed these unnamed witnesses, the witnesses’ mere presence in Houston

would not have assured that they would have testified on his behalf or that they

would have testified in a manner that would have benefitted Allen. The Fifth

Circuit has held that “[c]omplaints of uncalled witnesses are not favored in

federal habeas corpus review because allegations of what the witness would have

testified to are largely speculative.” Sayre v. Anderson, 238 F.3d 631, 635-36 (5th

Cir. 2001). To prevail on a claim alleging deficient performance of counsel for

failure to call a witness, Allen must “name the witness, demonstrate that the

witness was available to testify and would have done so, set out the content of

the witness’s proposed testimony, and show that the testimony would have been

favorable to a particular defense.” Day v. Quarterman, 566 F.3d 527, 538 (5th

Cir. 2009). Allen meets none of these requirements: He does not name any

witness, he does not demonstrate availability at the time of his trial, nor does he

set forth the content of the witnesses’ proposed testimony—favorable or

otherwise. And even if trial counsel had subpoenaed these witnesses, there is

no guarantee that they would have testified as Allen now alleges. Indeed, the

witnesses’ refusal to testify at Allen’s trial upon learning the defensive strategy


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indicates they were unwilling to provide the testimony that would have helped

his cause. This claim of ineffective assistance amounts to nothing more than

rank speculation and cannot form the basis of federal habeas relief.         See

Kinnamon v. Scott, 40 F.3d 731, 735 (5th Cir. 1994).

      Furthermore, trial counsel could have reasonably concluded that

subpoenas were not necessary to compel these witnesses to appear at Allen’s

trial. Because the witnesses initially cooperated and discussed the alleged

evidence with the investigators, and because the witnesses were people close to

Allen—“family, friends, and ex paramours,”—trial counsel could reasonably have

concluded that they were willing to help him by testifying on his behalf and

subpoenas were thus unnecessary. Moreover, Bierbaum’s affidavit indicates

that the witnesses refused to come to Houston only after learning about the

intended mitigation defense. Petitioner’s Exhibit B, #9. At this point, trial

counsel could have reasonably concluded that subpoenas would not help because,

even if the witnesses were forced to come to Houston, they did not want to

cooperate and would not have been good witnesses. Trial counsel cannot force

witnesses to testify favorably. Thus, the decision not to subpoena witnesses was

strategically reasonable and not deficient.

      Trial counsel nevertheless presented an impressive mitigation defense, in

spite of the lack of cooperation from these unnamed witnesses. “[I]t is difficult


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to establish ineffective assistance when counsel’s overall performance indicates

active and capable advocacy.” Richter, 131 S. Ct. at 791. As noted, trial counsel

did their best to preserve the childhood-abuse-mitigation-defense through the

testimony of Bettina Wright. Wright’s opinion that Allen was the survivor of

chronic sexual abuse, starting during early childhood and continuing into

adulthood, was based on information supplied by Allen, and by her review of the

mitigation team records which included interviews with Allen’s family members.

28 RR 3-7, 18-19. Wright testified that she believed Allen was abused by his

brother, his uncle, a boyfriend of his mother, the brother of a boyfriend of his

mother, and strangers. 28 RR 9. Wright opined that the sexual abuse made

Allen feel unwanted by his family, unsafe, and that he was not of value to his

family. 28 RR 11-12. Wright explained that when a child is sexually assaulted,

the child may grow up not being able to trust the world, feel unvalued, and feel

as if he is not able to protect himself; thus the child develops a sense of

helplessness and powerlessness. 28 RR 13-14. Wright also testified that she

believed Allen was rejected and emotionally neglected by his mother. 28 RR 14.

When Allen told his mother that his brother was molesting him, she got angry

and did not believe him thereby reinforcing his feeling that he was not valued

in the family. 28 RR 15. Wright opined that a perpetrator of abuse against a

child—like the kind Allen was accused of in this case—likely has poor coping


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mechanisms, low self esteem, poor life skills, and is thus more likely to act out

in a stressful situation. 28 RR 16. Wright opined that Allen was in a very

stressful situation when he committed this crime—he was unemployed, living

in an impoverished household, caring for someone else’s four young children, and

had suffered through sexual abuse as a child. 28 RR 17. Wright testified that

when a person who experienced childhood sexual abuse perpetrates abuse on a

child as an adult, the perpetration is a way of dealing with that person’s own

pain. 28 RR 18.

      Trial counsel was also able to elicit on cross-examination from Allen’s ex-

wife, Sonji Allen, that Allen once told her that an uncle had molested him when

he was a child. 26 RR 150. This testimony corroborated Bettina Wright’s

testimony.   Additional evidence of this kind would have been cumulative.

Furthermore, while Allen suggests that the unnamed witnesses could have

provided the jury with “firsthand knowledge” of the sexual abuse, Petition at 76-

77, unless one of these unnamed witnesses actually saw Allen being abused or

abused Allen themself, any testimony they could have provided would be

hearsay based upon what Allen told them, and would be no more probative than

the hearsay provided by Wright and Sonji.

      Finally, trial counsel emphasized the evidence of abuse during closing

arguments, noting that Allen came from a highly dysfunctional family—he was


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the product of rape, he ran away from home at six-year old, and he told his

mother he was being sexually abused, but she did not believe him. 29 RR 29-30.

Counsel also noted that, although the State suggested Allen was lying about the

abuse, Wright—an expert with experience interviewing more than two-hundred

victims of sexual abuse—believed he was telling the truth. 29 RR 31.

      Trial counsel also presented testimony from clinical psychologist, Dr. Gilda

Kessner, who opined that, if incarcerated, Allen presented a 2 to 7.3 percent

likelihood of committing future acts of violence in prison. 27 RR 18-19, 52. The

defense called several witnesses, including two church pastors, who knew Allen

when he lived in St. Louis. These witnesses indicated that Allen was active in

various churches; liked to speak to groups from the Bible; was likeable, polite,

and never a problem; and was a bright young man who was interested in

spiritual work. 27 RR 86, 98, 103. Another witness, Bobby Jean Austin,

testified that she met Allen in 1979 in church where Allen was a preacher; Allen

lived with Austin on several occasions and she trusted him with her eight

children; Allen never did anything to harm them. 27 RR 113-15, 118-19. Also,

Allen’s friend Corita Hawkins testified that she had known Allen for fifteen to

twenty years and that he had lived with her in her Houston home on two

occasions. 28 RR 63. Allen sang in the church choir and preached. 28 RR 63-64.

According to Hawkins, Allen tried to find employment after he was paroled but


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lost his jobs when employers checked his record. 28 RR 66. However, Allen

helped around her house with cooking and yard work. 28 RR 67. According to

Hawkins, Allen took Jones’s children to church, and told Hawkins that he was

just trying to help Jones get settled even though he knew he should not live with

her. 28 RR 71-72.

      While the defense made a valiant attempt to portray Allen as someone who

was victimized as a child by severe abuse, but was otherwise a likeable, spiritual

young man who was very involved in the church, and not likely to be a future

danger to society if incarcerated for life in prison, the State’s contrary evidence

was overwhelming. Apart from the truly horrific facts of the crime, the jury

heard evidence that all of Kimberly Jones’s children showed signs of abuse and

malnutrition. See 26 RR 207-09, 213-21, 225.

      The evidence also showed Allen was on parole for a prior sexual offense

against children and was a registered sex offender prior to moving in with Jones.

Specifically, in 1986, he pled guilt plea to two counts of felony sexual assault

involving two minor children, resulting in placement on deferred adjudication.

26 RR 4; SX 171. The victims’ mother, Vanessa Henry, testified that she had

allowed Allen and his wife to stay with her after her pastor told her they did not

have anywhere to live. 26 RR 185-89. Allen did not have a job so he and his wife

cared for Henry’s two boys. 26 RR 189-91. It was during this time that Allen


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assaulted both boys, then threatened to hurt them if they told anyone. 26 RR

192-95. Henry agreed to probation for Allen so that her children would not have

to testify against him. 26 RR 195-96. However, due to parole violations, this

crime was eventually adjudicated in May 1989, and Allen was sentenced to two

years imprisonment. SX 174. Allen was released to mandatory supervision in

September 1989, but his parole was revoked in January 1999, because he failed

to report and changed his residence without permission. 26 RR 61, 66. In July

1999, he was again released on mandatory supervision and was required to

register as a sex offender.     26 RR 70-71, 79, 91. Allen then violated the

conditions of his parole by living with Jones’s children; Allen also failed to report

that he moved into the apartment with Jones. 26 RR 70-71, 91.

      In addition, the jury heard testimony from Allen’s ex-wife Sonji, who

described how Allen choked her into unconsciousness because she did not want

to move to Texas. 26 RR 118-21. Also, Liza Turner described the inappropriate

relationship she had with Allen when she was a minor and he was a youth

minister at her church. 26 RR 168-81. Allen pled guilty in May 1990, to

misdemeanor assault and was sentenced to seventy-five days in jail for

assaulting his then-pregnant second wife, Carla Jones. SX 176; 26 RR 26-33, 53-

54. Jones feared for her life during the attack and subsequently lost her baby.

26 RR 33, 53-54. Finally, the jury heard the videotaped interview Allen gave to


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Sgt. James Binford after he turned himself in to the police. Sgt. Binford testified

that Allen tried to come across as a victim in the interview, but he found him to

be a methodical, sharp thinker who functioned in “survival mode.” 27 RR 8-13.

      The jury heard evidence that Allen had been sexually abused as a child

and found it unconvincing in the face of the overwhelming aggravating evidence

offered by the State. Therefore, there is no reasonable probability that, after

reweighing the entirety of the available mitigating evidence against this

aggravating evidence, the result of the proceeding would have been any

different. The “likelihood of a different result must be substantial, not just

conceivable.” Richter, 131 S. Ct. at 792. Allen cannot meet this standard.

            2.     Allen cannot establish “cause” because state habeas counsel
                   was not ineffective.

      Finally, as discussed, Allen fails to establish “cause” because the

performance of state habeas counsel was not deficient. Allen relies on records

obtained from the Harris County Auditor’s Office—comprising habeas counsel’s

motions for payment, expense work sheets and worksheet summaries,

investigator invoices, and various receipts—to support his claim that state

habeas counsel performed deficiently. Petition at 72-73; Petitioner’s Exhibit C.

However, this exhibit demonstrates that state habeas counsel hired an

investigator to help with claims and spent more than 228 hours reading the

record and researching and writing a brief. State habeas counsel ultimately filed

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a brief, raising thirty-seven claims for relief. Allen now identifies only one claim

that he suggests should have also been raised in that state writ. However, as

discussed, that claim is meritless. And even if it was arguably meritorious,

appellate counsel is not necessarily deficient for failing to raise it. See United

States v. Williamson, 183 F.3d 458, 462-63 (5th Cir. 1999); Green v. Johnson,

160 F.3d 1029,1043 (5th Cir. 1998) (counsel does not need to raise every non-

frivolous issue on appeal). “Even the best criminal defense attorneys would not

defend a particular client in the same way.” Strickland, 466 U.S. at 689.

      While Allen alleges that state habeas counsel did not personally meet with

his client, he was in contact through letters. See 2 SHCR 592-93; 3 SHCR 850

(counsel suggested letter-writing would be far more expedient way to get

information than waiting for a visit to ask questions). Furthermore, according

to Petitioner’s Exhibit C, an investigator met with Allen at TDCJ. And contrary

to Allen’s assertions, Petition at 72, these records do not indicate what the

investigator discussed with Allen. The records state only that the investigator

“[t]raveled to TDC, Livingston, Texas, Interviewed Kerry Allen.” Petitioner’s

Exhibit C, Lone star Investigations, Invoice Summary, page 2. This exhibit also

indicates that the investigators located and contacted juror members, but this

could have been a separate investigation. The exhibit does not suggest that a

“jury claim” was the only subject of the investigator’s conversation with Allen at


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TDCJ or that it was even discussed at all. Allen also presumes that state habeas

counsel’s expense works sheets indicating only “Research & writing” and

“Reading record” as an Explanation of Services Performed prove that he did not

review any documents in possession of the trial attorneys or investigate claims

outside the record. However, these vague descriptions of services should not be

construed so narrowly. And while state habeas counsel repeated twelve claims

raised on direct appeal, he also raised twenty-five other claims. In short, the

exhibit fails to prove a lack of investigation by state habeas counsel. Under

these circumstances, state habeas counsel’s performance was objectively

reasonable. Smith, 528 U.S. at 285; Moreno, 450 F.3d at 168.

      For all these reasons, Allen cannot demonstrate that appellate counsel was

deficient or that he was prejudiced by their performance.

VI.   Allen Is Not Entitled To Discovery Or An Evidentiary Hearing.

      Allen makes a cursory request for discovery pursuant to Rule 6 of the

Rules Governing § 2254 Cases, seeking permission to use discovery “to the

extent necessary to fully develop and identify the facts supporting his petition,

and any defenses thereto raised by the Respondent’s Answer.” Petition at 77.

He also seeks leave to further amend his petition “to include any additional

claims or allegations not presently known to him or his counsel, which are

identified or uncovered in the course of discovery” and leave to expand the


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record, pursuant to Rule 7 of the Rules Governing § 2254 Cases with this

information. Petition at 77-78. Finally, Allen requests an “evidentiary hearing

pursuant to Rule 8 of the Rules Governing § 2254 Cases at which proof may be

offered concerning the allegations of this petition.” Petition at 78.

      However, under AEDPA, federal habeas review of a state court decision

“is limited to the record that was before the state court that adjudicated the

claim on the merits.” Pinholster, 131 S. Ct. at 1398. The “backward-looking

language” of § 2254(d)(1) “requires an examination of the state-court decision at

the time it was made,” and “review is limited to the record in existence at the

same time i.e., the record before the state court.” Id. at 1398. “[E]vidence

introduced in federal court has no bearing on a § 2254(d)(1) review. If a claim

has been adjudicated on the merits by a state court, a federal habeas petitioner

must overcome the limitation of § 2254(d)(1) on the record that was before the

state court.” Id. at 1400;22 see also Rabe v. Thaler, 649 F.3d 305, 308-09 (5th Cir.

2011) (quoting Pinholster); Pape v. Thaler, 645 F.3d 281, 288 (5th Cir. 2011)

(same). In such instance, a federal habeas court is prohibited from considering



      22
              It would be contrary to § 2254(b)’s purpose—that state courts have
primary responsibility to review federal-law challenges to a state custodial judgment
and provide any necessary relief—if petitioners were allowed “to overcome an adverse
state-court decision with new evidence introduced in a federal habeas court and
reviewed by that court in the first instance effectively de novo.” Pinholster, 131 S. Ct.
at 1398-99 (citing Robinson v. Shell Oil Co., 519 U.S. 337, 341 (1997), and Woodford
v. Viscotti, 537 U.S. 19, 27 (2002) (per curiam)).

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new evidence or granting an evidentiary hearing. See Pape, 645 F.3d at 288

(District court erred in conducting evidentiary hearing and relying on evidence

from that hearing to conclude state habeas court unreasonably rejected

Strickland claim; claim must be adjudicated on record before the state court.);

Higgins v. Cain, No. 10-30,285, 2011 WL 3209843 (5th Cir. July 28, 2011)

(unpublished) (Pursuant to Pinholster, district court would have erred in

granting federal evidentiary hearing on Strickland claims adjudicated on the

merits in state court proceedings.).

      Because his first four claims were adjudicated on the merits in state court

proceedings, this Court is prohibited from granting discovery or an evidentiary

hearing unless Allen can demonstrate that he meets an exception to § 2254(d).

For the reasons already given in this answer, Allen fails to make this threshold

showing and is not entitled to relief under AEDPA. Therefore, this Court is

limited to the record before the state court, and further development or

expansion of the record is prohibited. Pinholster, 131 S. Ct. at 1398.

      Assuming, however, that Pinholster does not bar factual development in

this case, consideration of new evidence in federal court is still subject to the

restrictions in 28 U.S.C. § 2254(e)(2). See Pinholster, 131 S. Ct. at 1401

(“Section 2254(e)(2) continues to have force where § 2254(d)(1) does not bar

federal habeas relief.”). Consequently, new evidence cannot be considered if the


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petitioner “failed to develop the factual basis of a claim in State court

proceedings.” §2254(e)(2). Applying Pinholster, and for the reasons discussed

below, AEDPA forecloses discovery or an evidentiary hearing on all of Allen’s

claims, including the procedurally defaulted Strickland claim. Therefore, this

Court should deny his requests for discovery, an evidentiary hearing, and

expansion of the record.

      A.    Allen is not entitled to an evidentiary hearing.

      This Court’s discretion to consider new evidence is further restricted by

§2254(e)(2). Pinholster, 131 S. Ct. at 1401 (“Section 2254(e)(2) continues to have

force where § 2254(d)(1) does not bar federal habeas relief.”). AEDPA places

strict limitations on a court’s ability to grant an evidentiary hearing:

            If the applicant has failed to develop the factual basis of a
      claim in State court proceedings, the court shall not hold an
      evidentiary hearing on the claim unless the applicant shows that-

            (A) the claim relies on-
                  (i) a new rule of constitutional law, made
            retroactive to cases on collateral review by the Supreme
            Court, that was previously unavailable; or
                  (ii) a factual predicate that could not have been
            previously discovered through the exercise of due
            diligence; and

            (B) the facts underlying the claim would be sufficient to
            establish by clear and convincing evidence that but for
            constitutional error, no reasonable factfinder would
            have found the applicant guilty of the underlying
            offense.


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28 U.S.C. § 2254(e)(2). Thus, for Allen to be entitled to a federal evidentiary

hearing—in addition to showing that he surpasses the threshold of § 2254(d)—he

must show that he did not fail to develop the factual basis of his claim in state

court, or that his claim satisfies a § 2254(e)(2)(A) exception and that an

evidentiary hearing could enable him to prove the petition’s factual allegations,

which, if true, would entitle him to federal habeas relief.      See Schriro v.

Landrigan, 550 U.S. 465, 474 (2007) (“In deciding whether to grant an

evidentiary hearing, a federal court must consider whether such a hearing could

enable an applicant to prove the petition’s factual allegations, which, if true,

would entitle the applicant to federal habeas relief.”). Allen cannot meet these

requirements.

      Regarding Issues I through IV, Allen cannot demonstrate that he did not

fail to develop the claims in state court. “Failure” is established by showing a

“lack of diligence, or some greater fault, attributable to the prisoner or the

prisoner’s counsel.” Williams, 529 U.S. at 432. Allen makes no argument

regarding the sufficiency of his attempts to further develop the claims on his

own. The record indicates that Allen made only a cursory requests for discovery

of “information necessary to prove the facts as alleged in his petition” and an

evidentiary hearing “at which he may be allowed to present evidence on these

claims.” 1 SHCR 354-55. Allen’s generic appeals for an evidentiary hearing and


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non-specific discovery requests were not diligent attempts to develop the state

court record. Indeed, “seek[ing] an evidentiary hearing in state court” is simply

the “minimum” showing for diligence under § 2254(e)(2). Michael Williams, 529

U.S. at 437. And “[m]ere requests for evidentiary hearings will not suffice; the

petitioner must be diligent in pursuing the factual development of his claim.”

Dowthitt v. Johnson, 230 F.3d 733, 758 (5th Cir. 2000). As he does now, Allen

simply requested an evidentiary hearing but presented no compelling reason

why additional factfinding was warranted. Furthermore, he did not identify any

documents or evidence he wished to discover through further factual

development, or how this evidence could affect his claims His generic request

falls short of proving the necessary diligence in the development of his claims in

state court.

      Furthermore, he cannot meet an exception to § 2254 (e)(2) because no

claim relies on a new rule of constitutional law, nor does he allege that the

factual predicate to his claims could not have discovered through the exercise of

due diligence. Indeed, Allen does not even describe what evidence he seeks to

develop through discovery or an evidentiary hearing.          And, as described

throughout this answer, Allen fails to allege any factual dispute that, if true,

would entitle him to relief. Landrigan, 550 U.S. at 474. He certainly does not

explain how evidence obtained through discovery or an evidentiary hearing


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would help to prove his case.        Therefore, Allen cannot prove that further

evidentiary development would establish, by clear and convincing evidence, that

but for constitutional error, no reasonable factfinder would have found him

guilty of the underlying offense.

          Regarding Issue V, Allen cannot show diligence in his attempts to develop

this claim in state court. “AEDPA generally prohibits federal habeas courts from

granting evidentiary hearings when applicants have failed to develop the factual

bases for their claims in state courts.” Schriro, 550 U.S. at 473 n.1. “[A] failure

to develop the factual basis of a claim” exists where there is “a lack of diligence,

or some greater fault, attributable to the prisoner or the prisoner’s counsel.”

Williams, 529 U.S. at 431. Allen admits the claim should have been raised in

state court, but blames the ineffective assistance of appellate counsel as cause

for this default. However, the ineffectiveness of state habeas counsel does not

excuse a procedural default in this case.          See Coleman, 501 U.S. at 752.

Therefore, by his own admission, he cannot satisfy the opening clause of § 2254

(e)(2).        Furthermore, he meets no exception.        He cites no new rule of

constitutional law23 and admits that the factual predicate for his claim was



          23
              Martinez is not a new rule of constitutional law. 132 S. Ct. at 1315 (Court
did not resolve whether exception to Coleman exists as a constitutional matter); id. at
1319-20 (distinguishing between a constitutional ruling and “the equitable ruling of
this case”).

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available. § 2254(e)(2)(A). And, for the reasons discussed, his Strickland claim

fails to allege any factual dispute that, if true, would entitle him to relief.

Landrigan, 550 U.S. at 474.        Therefore, Allen cannot prove that further

evidentiary development would establish, by clear and convincing evidence, that

but for constitutional error, no reasonable factfinder would have found him

guilty of the underlying offense. § 2254(e)(2)(B). Thus, Allen meets no exception

allowing for further factual development.

      Finally, even if he could prove that he was not barred by AEDPA from

obtaining a hearing, this Court has discretion to deny a hearing if sufficient facts

exist to make an informed decision on the merits. Clark v. Johnson, 227 F.3d

273, 284-85 (5th Cir. 2000). With regard to any of Allen’s claims, he does not put

forth factual allegations that, if true, would entitle him to relief. See Landrigan,

550 U.S. at 474. Furthermore, he fails to make any argument as to how a

hearing will aid in the development of his claims. See Clark, 227 F.3d at 284

(petitioner failed to show how his claim would be advanced by a hearing). This

Court has sufficient evidence and argument currently before it to resolve Allen’s

claims. Therefore, even if a federal evidentiary hearing was allowed, it is

unwarranted and this Court should deny Allen’s request.




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      B.     Allen is not entitled to discovery.

      For the same reasons an evidentiary hearing is not allowed, discovery is

also not allowed. Consideration of new evidence in federal court is subject to the

restrictions in § 2254(e)(2). See Holland v. Jackson, 542 U.S. 649, 653 (2004)

(“Those same restrictions [in § 2254(e)(2)] apply a fortiori when a prisoner seeks

relief based on new evidence without an evidentiary hearing.”); Shelton v.

Quarterman, No. 06-10448, 2008 WL 4411487, at *8 (5th Cir. Sept. 28, 2008)

(“Section 2254(e)(2) . . . also governs when a district court may consider evidence

not presented to the state courts.”). Consequently, new evidence cannot be

considered if the petitioner “failed to develop the factual basis of a claim in State

court proceedings.” § 2254(e)(2). As argued, Allen cannot show diligence in the

development of all claims in the state court.            Furthermore, he cannot

demonstrate that he meets an exception to § 2254 (e)(2)(A), or that the further

factual development could enable him to prove the petition’s factual allegations

and thus entitle him to federal habeas relief. Additional factual development

through discovery will not help Allen’s claims.

      Parties to a federal habeas action under 28 U.S.C. § 2254, generally are

not entitled to discovery under the Federal Rules of Civil Procedure. Rather,

under Habeas Rule 6, a party may invoke the discovery process only if and to the

extent that the court grants leave “for good cause shown.” Although the Habeas


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Rules do not define “good cause,” the Advisory Committee Note to Habeas Rule

6 explains that the rule is consistent with the Supreme Court’s decision in

Harris v. Nelson, 394 U.S. 286 (1969). Under that decision, a court must grant

discovery only “where specific allegations before the Court show reason to

believe that the applicant may, if the facts are fully developed, be able to

demonstrate that he is . . . entitled to relief . . . .” Harris v. Nelson, 394 U.S. at

300; see also Bracy v. Gramley, 520 U.S. 899, 904 (1997) (“A habeas petitioner,

unlike the usual litigant in federal court, is not entitled to discovery as a matter

of ordinary course”); Ward v. Whitley, 21 F.3d 1355, 1367 (5th Cir. 1994)

(“Habeas corpus is not a general form of relief for those who seek to explore their

case in search of its existence.”) (citing Aubet v. Maine, 431 F.2d 688, 689 (1st

Cir. 1970)).. In Harris, the court reasoned that habeas actions are particularly

unsuited for literal application of the civil discovery rules and concluded that

             in appropriate circumstances, a district court,
             confronted by a petition for habeas corpus which
             establishes a prima facie claim for relief, may use or
             authorize the use of suitable discovery procedures . . .
             reasonably fashioned to elicit facts necessary to help
             the court to “dispose of the matter as the law and
             justice require.”

394 U.S. at 290 (emphasis added; citation omitted). Thus, Allen may not utilize

postconviction discovery as a means to meet his initial burden of establishing a

prima facie claim. Rather, he must assert facts constituting a prima facie claim


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before a federal habeas court may properly grant discovery. Moreover, Allen’s

factual allegations must be specific, rather than conclusory or speculative, in

order to warrant discovery under Habeas Rule 6. West v. Johnson, 92 F.3d 1385,

1399-1400 (5th Cir. 1996) (citing Ward, 21 F.3d at 1367); Montoya v. Scott, 65

F.3d 405, 417 (5th Cir. 1995); East v. Scott, 55 F.3d 996, 1005 (5th Cir. 1995).

For the reasons discussed in this answer, Allen fails to present a prima facie

claim for relief.

      Furthermore, Allen’s generic request to use discovery “to the extent

necessary to fully develop and identify the facts supporting his petition, and any

defenses thereto raised by the Respondent’s Answer,” Petition at 77, as well as

his request for leave to further amend his petition “to include any additional

claims or allegations not presently known to him or his counsel, which are

identified or uncovered in the course of discovery,” Petition at 77-78, is simply

an impermissible fishing expedition. Rule 6 permits the district court to order

discovery on good cause shown, but does not authorize “fishing expeditions.”

Ward, 21 F.3d at 1367; Lave, 416 F.3d at 380 (“A habeas petitioner may ‘invoke

the processes of discovery available under the Federal Rules of Civil Procedure

if, and to the extent that, the judge in the exercise of his discretion and for good

cause shown grants leave to do so, but not otherwise.’”) (citing Rector v. Johnson,

120 F.3d 551, 562 (5th Cir. 1997)); East, 55 F.3d at 1005 (holding petitioner’s


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conclusory allegations that discovery might uncover evidence supporting claim

insufficient to obtain discovery). Allen identifies no specific evidence he wishes

to discover or how it will affect his various claims. He seeks only the opportunity

to “explore [his] case in search of its existence.” Ward, 21 F.3d at 1367.

Therefore, discovery should not be permitted.

      Finally, discovery on the Issue V is impermissible for another

reason—Allen has procedurally defaulted the claim. Discovery is allowed only

when there is a showing of “good cause.” Rule 6(a). Even if the facts were fully

developed, he would still not be entitled to relief from this Court because he

cannot overcome the procedural default of this claim. For this reason, Allen

cannot show good cause for discovery. See Rucker v. Norris, 563 F.3d 766, 771

(8th Cir. 2009) (“As Rucker’s federal claim is procedurally barred because it was

not raised in the state courts, he cannot satisfy [good cause].”). Discovery should

therefore not be granted..

      C.    This Court should deny Allen’s request to expand the record.

      The Director opposes any expansion of the record in these federal habeas

corpus proceedings.     As argued in the previous sections, for the claims

adjudicated on the merits by a state court, a federal habeas petition must

overcome the limitation of §2254(d)(1) on the record that was before the state

court.” 131 S. Ct. at 1400. Because four of these claims were adjudicated on the


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merits by the state habeas court, this Court is foreclosed from considering new

evidence when reviewing the state court’s rejection of his claims. And because

Allen cannot meet an exception to § 2254(d), this Court may not grant an

evidentiary hearing, discovery, or receive new evidence. By this logic, the Court

is also foreclosed from expanding the record. Similarly, because he procedurally

defaulted Issue V, and cannot show cause of the default, this Court should not

permit expansion of the record with any related evidence.

      While Rule 7 grants this Court the discretion to expand the record,

AEDPA places strict limitations on a court’s ability to do so. This Court’s

discretion to grant an evidentiary hearing or expand the record, as allowed

under the Rules Governing § 2254 Cases, is still constricted by § 2254(d)(1) and

(e)(2), and Allen must first clear the AEDPA “hurdle” before this Court can

exercise its discretion. As stated by the Fifth Circuit regarding evidentiary

hearings:

            Consistent with AEDPA’s goal of streamlining the
            habeas process, § 2254(e)(2) specifies the situations
            where evidentiary hearings are allowed, not where they
            are required. Thus, if a petitioner seeking a hearing
            clears this initial hurdle, he must still persuade the
            district court. This subsequent determination is
            committed to the district court’s discretion pursuant to
            Rule 8 of the Rules Governing § 2254 Cases.

McDonald v. Johnson, 139 F.3d 1056, 1059-60 (5th Cir. 1998) (emphasis added).

The Supreme Court holds that the same restrictions of § 2254(e)(2) apply when

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a petitioner seeks to expand the record without an evidentiary hearing. Holland,

542 U.S. at 652-53; see also Thompson v. Quarterman, 629 F. Supp. 2d 665, 672-

73 (S.D. Tex. 2007) (district court denied motion to expand the record because

petitioner failed to demonstrate specific factual dispute that would entitle him

to relief). Therefore, even if claims were not adjudicated on the merits in state

court, see § 2254(d), a federal court’s discretion to consider new evidence is still

restricted by § 2254(e)(2). See Pinholster, 131 S. Ct. at 1401.

      Because four of Allen’s five claims were adjudicated on the merits in the

state court, any expansion of this record is foreclosed by his failure to overcome

§ 2254(d). And, Allen also fails to demonstrate that he meets the requirements

of § 2254(e)(2), thereby allowing this Court to exercise its discretion in deciding

whether to grant a hearing. Therefore, expansion of the record is foreclosed by

AEDPA, and the Supreme Court’s decision in Pinholster.

                                 CONCLUSION

      For the foregoing reasons, the Director respectfully requests that Allen’s

federal petition for writ of habeas corpus be denied with prejudice on the merits;

that the Court deny his requests for discovery, an evidentiary hearing and to

expand the record; and that no certificate of appealability issue with regard to

any of the claims raised therein.




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                         CERTIFICATE OF SERVICE

      I hereby certify that on July 27, 2012, I electronically filed the foregoing

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                                      s/ Tomee M. Heining
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